Case 3:10-cr-00104-GC        Document 104         Filed 07/19/12     Page 1 of 58 PageID: 7345




*NOT FOR PUBLICATION

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

____________________________________
                                    :
UNITED STATES OF AMERICA            :
                                    :
                  Plaintiff,        :                        Criminal No. 10-104 (FLW)
                                    :
         v.                         :                        OPINION
                                    :
RONALD SALAHUDDIN and SONNIE :
L. COOPER                           :
                  Defendants.       :
____________________________________:

WOLFSON, United States District Judge:

       On October 14, 2011, Defendants Ronald Salahuddin (“Salahuddin”) and Sonnie Cooper

(“Cooper”) (collectively “Defendants”) were convicted by a jury of conspiracy to obstruct

interstate commerce by extortion under color of official right, in violation of 18 U.S.C. § 1951(a)

(the “Hobbs Act”). Defendants were acquitted on counts of attempting to violate the Hobbs Act

and violating the Hobbs Acts. Now Defendants each move the Court to enter an acquittal under

Federal Rule of Criminal Procedure 29 because of an insufficiency of the evidence or to vacate

the conviction and order a new trial under Rule 33 because the conviction was against the weight

of the evidence. Additionally, Salahuddin argues his conviction should be vacated because (1) of

alleged Brady violations by the Government; (2) the Court improperly instructed the jury, and

(3) his intent was only to facilitate and promote minority hiring, not to violate the law. And

Cooper argues his conviction should be vacated because (1) the Government engaged in

shocking, outrageous, and intolerable behavior and (2) the Government selectively prosecuted

Cooper and Salahuddin because they were African American, while not prosecuting other




                                                 1
Case 3:10-cr-00104-GC        Document 104        Filed 07/19/12      Page 2 of 58 PageID: 7346




potential Caucasian targets. For the reasons set forth below, Defendants’ motions are denied.

       I.      BACKGROUND

       The following is a brief summary of the Government’s allegations. Salahuddin was

formerly Deputy Mayor of the City of Newark in charge of Public Enforcement and Cooper

owned a demolition business in Newark. The conspiracy between the two involved a circular

plan whereby Salahuddin would direct government contracts to a third party, Nicholas

Mazzocchi (“Mazzocchi”), if Mazzocchi would then subcontract work to Cooper. This would

then benefit Salahuddin, who allegedly had a silent financial interest in Cooper’s business, S.

Cooper Brothers Trucking.

       The Government claimed that between July 2006 and December 2007, Salahuddin and

Cooper conspired to use Salahuddin’s official position to steer demolition contracts from the

City of Newark and the New Jersey Devils to Mazzocchi, who owned and operated Mazzocchi

Wrecking, Inc, a demolition company. If Salahuddin could award contracts to Mazzocchi—or

influence other Newark officials to award contracts to Mazzocchi—then Mazzocchi was

expected to subcontract work to Cooper. Cooper would profit directly through the work and

Salahuddin indirectly through his hidden financial relationship with Cooper. Further, Salahuddin

asked Mazzocchi to contribute to certain political causes supported by the Newark Mayor’s

Office and other Newark public officials to make it appear that Mazzocchi was a “friend of the

administration” in order to facilitate awarding the contracts to Mazzocchi.

       The Government argued that the idea for the conspiracy originated when Salahuddin met

with Joseph Parlavecchio (“Parlavecchio”), who provided consulting work to several Newark

demolition companies, including Mazzocchi’s. Indeed, Salahuddin and Cooper were introduced

to Mazzocchi through Parlavecchio. Unbeknownst to the other three, Mazzocchi was




                                                 2
Case 3:10-cr-00104-GC        Document 104        Filed 07/19/12      Page 3 of 58 PageID: 7347




cooperating with the F.B.I. and was recording his conversations with Salahuddin, Cooper, and

Parlavecchio. 1 On July 29, 2006, and August 5, 2006, Parlavecchio met with Mazzocchi to

discuss that he had met with Salahuddin. Parlavecchio told Mazzocchi that if Mazzocchi wanted

more demolition work in Newark—where he had not received a contract in over five years—he

would have to subcontract work to Cooper. Mazzocchi then met in person with Cooper

individually, met with Cooper and Salahuddin together, and spoke with both on the telephone

numerous times over the next year; Mazzocchi discussed obtaining demolition contracts from the

City of Newark as well as demolition work in connection with the New Jersey Devils Stadium

that was being built in Newark. All three discussed how Cooper should be given some work if

Mazzocchi received contracts from Newark.

       The Government also sought to prove that Salahuddin and Cooper shared a significant

financial relationship and that therefore Salahuddin would profit if Mazzocchi were to work with

Cooper. Cooper was a Newark-based businessman who owned several concerns, including a

deli, a liquor store, and S. Cooper Brothers Trucking. In 2004, Salahuddin loaned Cooper money

for Cooper to secure a bond so that he could be eligible for a garbage contract from the City of

Irvington. Salahuddin served as a general indemnitor for the bond. In addition, Salahuddin

provided Cooper with money for litigation and business expenses. Cooper described Salahuddin

as a “silent partner” in his trucking business and Salahuddin explained to Mazzocchi that he and

Cooper “did business together” and also referred to Cooper as his partner.

       In addition to providing Cooper with subcontracts related to Newark demolition projects,

Salahuddin asked Mazzocchi to contribute to several causes in order to enable Salahuddin to

direct work to Mazzocchi. Despite Salahuddin’s contrary suggestions to Mazzocchi, Salahuddin
1
 Mazzocchi agreed to work with the F.B.I. in April 2006, in order to avoid prosecution for
bribery of multiple public officials and tax-evasion. 9/14/2011 Trial Tr., 75-76.



                                                3
Case 3:10-cr-00104-GC        Document 104        Filed 07/19/12      Page 4 of 58 PageID: 7348




had no actual authority to award demolition contracts. Later in the course of the conspiracy,

Salahuddin suggested that Mazzocchi make these contributions as a means to help Salahuddin

influence the officials who did have power over the contracts. These contributions included a

$5,000 donation by Mazzocchi to Newark Now, a non-profit organization associated with

Newark Mayor, Cory Booker; $3,000 to purchase a table at a fundraiser for Mayor Booker; and

$4,000 in donations by Mazzocchi for Empower Newark, a Newark-based political action

committee.

       Based on these dealings and the conversations recorded by Mazzocchi, the Government

brought charges against Salahuddin and Cooper. On February 18, 2010, a grand jury in Trenton,

New Jersey, returned a five-count indictment against Defendants. Count One charged

Defendants with a conspiracy to obstruct interstate commerce by extortion under color of official

right in violation of 18 U.S.C. § 1951(a), also known as the Hobbs Act. Count Two charged that

Defendants knowingly and willfully attempted to obstruct interstate commerce by extortion

under the color of official right, in violation of 18 U.S.C. § 1951(a) and 18 U.S.C. § 2. Counts

Three through Five charged violations of 18 U.S.C. § 666(a)(B) and 18 U.S.C. § 2, in that

Defendants knowingly and corruptly solicited, demanded, accepted, and agreed to accept as

bribes things of value to influence and reward Salahuddin’s effort to steer Newark demolition

contracts from the City of Newark to Mazzocchi and Cooper. In particular, Count Three related

to contracts Cooper received, Count Four related to contributions Mazzocchi made at

Salahuddin’s behest, and Count Five related to a $5,000 payment that Cooper made to

Salahuddin contemporaneously with being paid by Mazzocchi. Salahuddin was charged in all

counts of the indictment; Cooper was charged in all Counts, except Count Four. Trial began on

September 7, 2011, during which the Government introduced a number of recorded




                                                4
Case 3:10-cr-00104-GC         Document 104        Filed 07/19/12      Page 5 of 58 PageID: 7349




conversations, significant documentary evidence, and testimony from Mazzocchi as well as

several Newark officials. After the Government rested, Salahuddin called several character

witnesses and also testified himself. Cooper did not call any witnesses, but did examine

Salahuddin. Closing arguments lasted several days. On October 14, 2011, the jury returned its

verdict and Defendants were convicted only on Count One, that they conspired to violate the

Hobbs Act.

       Defendants now move the Court to enter an acquittal or to vacate the conviction and

order a new trial.

       II.     LEGAL STANDARD

       a.    Rule 29 Motion for Acquittal

       According to Rule 29(a) of the Federal Rules of Criminal Procedure, “[a]fter the

government closes its evidence or after the close of all the evidence, the court on the defendant's

motion must enter a judgment of acquittal of any offense for which the evidence is insufficient to

sustain a conviction.” A court may reserve its decision on a Rule 29 motion until after the jury

has reached a verdict. If so, the court still must decide the motion on the basis of the evidence at

the time the ruling was reserved. United States v. Brodie, 403 F.3d 123, 133 (3d Cir. 2005);

United States v. Claxton, 2012 U.S. App. LEXIS 13969, *11-12 (3d Cir. July 9, 2012). Hence,

this Court must decide Defendants’ Rule 29 motions based on the evidence at the end of the

Government’s case in chief, see Brodie, 403 F.3d at 134, and their renewed motion at the end of

the trial based on all evidence entered.

       A Rule 29 motion requires a court to determine whether the government’s evidence is

sufficient, or stated another way, whether the record contains “substantial evidence from which

any rational trier-of-fact could find guilt beyond a reasonable doubt.” United States v. Lore, 430




                                                 5
Case 3:10-cr-00104-GC           Document 104        Filed 07/19/12     Page 6 of 58 PageID: 7350




F.3d 190, 203-04 (3d Cir. 2005); United States v. Smith, 294 F.3d 473, 476 (3d Cir. 2002);

United States v. Wolfe, 245 F.3d 257, 261 (3d Cir. 2001). In weighing the evidence presented,

the court must “review the record in the light most favorable to the prosecution,” resolving all

credibility determinations in the government’s favor. Wolfe, 245 F.3d at 261; see also United

States v. Leon, 739 F.2d 885, 891 (3d Cir. 1984) (court must look at the evidence presented by

the Government taken as a whole).

          Indeed, “[c]ourts must be ever vigilant in the context of Fed. R. Crim. P 29 not to usurp

the role of the jury by weighing credibility and assigning weight to the evidence, or by

substituting its judgment for that of the jury.” Brodie, 403 F.3d at 133 (citations omitted);

United States v. Carmichael, 269 F. Supp. 2d 588, 595 (D.N.J. 2003) (“The defendant must also

overcome the jury’s special province in evaluating witness credibility and conflicting

testimony.”). A finding that the government’s evidence is insufficient is reserved to those

exceptional “cases where the prosecution’s failure is clear,” making “[t]he burden on a defendant

who raises a challenge to the sufficiency of the evidence…extremely high.” Smith, 294 F.3d at

476 (discussing post-trial Rule 29 motion); United States v. Serafini, 233 F.3d 758, 770 (3d Cir.

2000) (same). The Court is obligated to “‘draw all reasonable inferences in favor of the jury’s

verdict.’” Smith, 294 F.3d at 476 (quoting United States v. Anderskow, 88 F.3d 245, 251 (3d Cir.

1996)).

          b. Rule 33 Motion for a New Trial

          Federal Rule of Criminal Procedure 33 provides that “[u]pon the defendant's motion, the

court may vacate any judgment and grant a new trial if the interest of justice so requires.” Fed. R.

Crim. P. 33. The authority to grant a new trial pursuant to Rule 33 is limited to those instances

where the Court “believes that there is a serious danger that a miscarriage of justice has




                                                   6
Case 3:10-cr-00104-GC          Document 104         Filed 07/19/12       Page 7 of 58 PageID: 7351




occurred-that is, that an innocent person has been convicted.” United States v. Johnson, 302

F.3d 139, 150 (3d Cir. 2002) (internal citations and quotations omitted); United States v. Silveus,

542 F.3d 993, 1004-05, (3d Cir. 2008). Even in those cases where the court may feel that the

verdict is contrary to the weight of the evidence, “[m]otions for a new trial based on the weight

of the evidence are not favored” and should be limited to “exceptional cases.” Silveus, 542 F.3d

at 1005 (quoting Government of Virgin Islands v. Derricks, 810 F.2d 50, 55 (3d Cir. 1987)). Yet

if there is a reasonable possibility that a “trial error had a substantial influence on the verdict,” a

new trial must be granted. United States v. Mastro, 570 F. Supp. 1388, 1390 (E.D. Pa. 1983);

Government of Virgin Islands v. Bedford, 671 F.2d 758, 762 (3d Cir. 1982)).

        Defendants make a number of other arguments besides challenging the sufficiency of the

evidence under Rules 29 and 33. These alleged errors must meet the same Rule 33 standard of

Defendants showing that any such errors had a “substantial influence on the verdict” in order for

me to grant a new trial.

        III.    DISCUSSION

        Defendants were convicted of conspiring to violate the Hobbs Act, 18 U.S.C. § 1951. In

particular, § 1951(a) provides:

        Whoever in any way or degree obstructs, delays, or affects commerce or the
        movement of any article or commodity in commerce, by robbery or extortion or
        attempts or conspires so to do, or commits or threatens physical violence to any
        person or property in furtherance of a plan or purpose to do anything in violation
        of this section shall be fined under this title or imprisoned not more than twenty
        years, or both.

Relevant for this case, § 1951(b)(2) defines “extortion” as “the obtaining of property from

another, with his consent, induced by wrongful use of actual or threatened force, violence, or

fear, or under color of official right.” 18 U.S.C. § 1951(b)(2) (emphasis added); see also United

States v. Driggs, 823 F.2d 52, 54 (3d Cir. 1987) (“The essential elements that the government



                                                   7
Case 3:10-cr-00104-GC         Document 104         Filed 07/19/12       Page 8 of 58 PageID: 7352




must prove are that the defendant obstructed, delayed or affected commerce or attempted to do

so; by extortion (‘the obtaining of property from another, with his consent…under color of

official right’); and that the defendant acted knowingly and willfully.”). To prove the elements

of the conspiracy, the Government had to show as to each Defendant that: (1) he knowingly or

intentionally agreed to commit extortion under color of official right that potentially could have

affected interstate commerce; (2) he was a party to that agreement; and (3) he entered into it

knowing of the objective, and entered into it with unity of purpose with at least one other alleged

conspirator to achieve the objective, in this instance violating the Hobbs Act as described above.

United States v. Rankin, 870 F.2d 109, 113 (3d Cir. 1989); United States v. Shoup, 608 F.2d 950,

956 (3d Cir. 1979); United States v. Uzzolino, 651 F.2d 207, 214 (3d Cir. 1981); United States v.

Small, 472 F.2d 818, 819 (3d Cir. 1971).

       a. Sufficient Evidence Supported the Jury’s Verdict

       At trial, Defendants made Rule 29 motions at the end of the Government’s case-in-chief

and at the end of the trial. Alternatively, Defendants argue in their brief that the jury’s verdict is

against the weight of the evidence and a new trial must be granted. The Government sought to

prove the underlying elements of the conspiracy by showing that Salahuddin and Cooper

intended to use Salahuddin’s official power, directly or indirectly, to award contracts to

Mazzocchi in exchange for an agreement to provide some subcontracting work to S. Cooper

Brothers Trucking, a company in which Salahuddin had a silent and significant interest, and to

seek political contributions from Mazzocchi in exchange for an explicit promise to influence

other Newark officials. Then the Government sought to prove the conspiracy by showing that

Salahuddin with Mazzocchi originated the plan with full knowledge of its purpose and that

Cooper willfully joined with a unity of purpose and both took steps to achieve the desired ends.




                                                  8
Case 3:10-cr-00104-GC            Document 104     Filed 07/19/12      Page 9 of 58 PageID: 7353




Cooper argues the evidence was insufficient to demonstrate (1) the existence of any such

agreement; (2) that he was a member of any such agreement; or (3) that he had the requisite

intent. Cooper Br. at 8. Salahuddin does not explicitly make these same factually based

arguments and instead focuses on supposed legal inconsistencies in the jury’s verdict that the

Court addresses in turn. But because both parties moved at trial for acquittal based on an

insufficiency of the evidence, and move now for a new trial, the Court will treat these arguments

as applicable to both parties.

       The Court presided over thirteen days of testimony and the introduction of thousands of

pages of evidence by the Government, and has reviewed the transcripts and evidence at length.

After its exhaustive review, the Court finds that the evidence substantially supports the jury’s

verdict that such a conspiracy existed. Perhaps most vital to the Government’s case were

recordings of Defendants’ conversations during the formation and course of this conspiracy.

These recordings were made by Mazzocchi while participating in in-person meetings and

telephone calls with Defendants. Although a reasonable person could conceivably ascribe more

than one meaning to a number of the conversations, they nonetheless support the Government’s

theory, and a reasonable jury could so find. For example, the Government argues the conspiracy

began in July 2006, after a meeting between Parlavecchio and Salahuddin. Recorded

conversations between Mazzocchi and Parlavecchio, whom Mazzocchi had retained as a

consultant in order to help him obtain more Newark contracts (9/9/2011 Trial Tr. at 209), reveal

Mazzocchi and Parlavecchio alluding to an agreement concerning Salahuddin:

       Joseph Parlavecchio: That’s fine, that’s fine. Alright, I met with the mayor. I met
       with the deputy mayor [Salahuddin]. And I’m gonna meet with you, him, and the
       deputy. There’s only one little thing. We gotta give, throw, and I know you’re
       doing it already. You got Cooper, you got a couple of boxes on one of your jobs,
       whatever else. We’ll give Cooper a little bit once in a while-- a machine we’ll
       meet with Sonnie -- that’s all they want they want a black guy involved. So, I’ll



                                                 9
Case 3:10-cr-00104-GC         Document 104        Filed 07/19/12     Page 10 of 58 PageID: 7354




        set up the meeting for this week with us. Alright?

        Nicholas Mazzocchi: You mean, give, sub Cooper a little work?

        JP: Yeah, I gotta give him a machine ahh, he doesn’t have any fucking machines.

        NM: Yeah, yeah.

 T-3029-1 3:2-3:13. What is clear is that Parlavecchio met with Salahuddin and that Parlavecchio

 related to Mazzocchi that in order for Mazzocchi to receive contracts from Newark he had to

 give Cooper subcontracting work. Beyond this, Defendants argue the conversation should be

 interpreted as showing that Mayor Booker and Salahuddin were merely advocating for minority

 business participation rather than, as argued by the Government, that in order to obtain contracts,

 Mazzocchi would have to agree to provide work to Cooper, who was financially entangled with

 Salahuddin and that when Parlavecchio spoke about this arrangement he was referring to a

 separate conversation between Salahuddin and himself. 2 The jury apparently chose to believe

 the latter interpretation, which is consistent with other statements made within that conversation

 and another that took place shortly thereafter on August 6, 2006, between Parlavecchio and

 Mazzocchi:

        JP: I’ll try and set up that lunch on Thursday or so. We should be back in
        business.

        NM: Yeah, Thursday’ll be all right with me.

        JP: (UI).

        NM: Who are we meeting with? Cory’s um--

        JP: His Deputy Mayor.

        NM: The Deputy Mayor.

 2
   Mayor Booker testified that Salahuddin had no responsibilities related to demolition and that
 he did not know of any arrangement regarding Cooper nor did he know that Cooper operated a
 demolition business. 9/20/2011 Trial Tr. at 74-78.


                                                 10
Case 3:10-cr-00104-GC        Document 104        Filed 07/19/12     Page 11 of 58 PageID: 7355




        JP: I know he’s an ass, but he gives us work. You know give Cooper a couple of
        boxes or whatever else. They’re worried about the Shine.

        NM: (UI) yeah that’s not a problem.

        JP: That’s cheap, their cheap.

        NM: What’s he want Joe?

        JP: Who?

        NM: This guy, ah, the Deputy Mayor?

        JP: Nothing. You know, I’m already in, your in, I mean, you know, we made our
        (UI), he wants to help Cooper out. Now Cooper transitioned nice from fucking
        Sharpe, to this guy. For what reason? He’s a Shine.

 T-3031-1 2:13-18. Again this evidence can be interpreted to support the Government’s position

 that Salahuddin developed the conspiracy with Parlavecchio, who relayed it to Mazzocchi. A

 month later, on August 24, 2006, Cooper met with Mazzocchi and Parlavecchio, and the parties

 again alluded to their agreement:

        JP: Yeah. So, we're gonna' give whatever we get, we're gonna' give, you know,
        some work, be it containers, machines, whatever. Be fair.

        NM: Yeah.

        Sonnie Cooper: Good.

        JP: But I want you to meet Nick [Mazzocchi] and--

        SC: Okay.

        NM: Alright.

        JP: Our word's our bond.

        NM: We're gonna' do good, we're gonna do good together.

        JP: We get, he sends it over, you're gonna' do very well.

        SC: Alright.




                                                11
Case 3:10-cr-00104-GC         Document 104        Filed 07/19/12     Page 12 of 58 PageID: 7356




 T-3034-2 3:8-18.

        NM: The guy that was supposed to meet us?

        JP: Ron?

        SC: Salahuddin?

        NM: Yeah.

        JP: That's [Cooper’s] main man.

        NM: Okay.

        SC: Oh, (UI)

        NM: I mean--

        JP: Why do you think Ron’s interested? Not because of me--

        SC: Right.

        NM: Yeah. Right.

        JP: He's interested in Sonnie.

        NM: The better he takes care of me, the better I take care of you.

        SC: Okay.

        NM: I mean I wanna' rock n' roll.

        SC: Yeah.

        NM: I ain't done nothin' in five fuckin' years, here.

        SC: Okay.

 T-3034-2 3:20-4:15. Cooper argues his role was passive, merely accepting the deal that was

 offered to him. While this is one possible interpretation, the evidence and conversations

 nonetheless support an inference that Cooper had agreed to the plan and desired that it be carried

 out. Cooper never argued with the arrangement nor questioned why Mazzocchi was offering to




                                                 12
Case 3:10-cr-00104-GC        Document 104         Filed 07/19/12      Page 13 of 58 PageID: 7357




 subcontract work to him only because Salahuddin was his “main man.” Moreover, Cooper

 himself made affirmative statements and took steps to confirm the plan at a September 12, 2006,

 meeting with Mazzocchi:

        NM: I'll work with you and you work with him.

        SC: Exactly.

        SC: [Salahuddin] said to me whatever we do, we have to, you know, I have to eat
        and he has to eat.

        NM: Right.

        SC: (UI) the other day (UI), he's gonna' be, in charge of seeing, where most,
        where most of the stuff go to, mostly his call (UI).

        NM: Right. Sonnie, I know he's gotta' be shielded. Whatever we gotta' do I do
        with you, and you take care of him. You know what I mean? But like they got
        these 200 houses, I wanna' get goin'. It's been five fuckin' years. Now, I got the
        contract, you know—

        * * *

        SC: Look, we've been together long. You know [Salahuddin], he's the type of guy
        that, I mean, how many black guys I can go to, tell him I need four hundred
        thousand, he'll come up with it--

        NM: Uh huh.

        SC: That's our relationship.

        NM: So, what do you think we could do? Do you think you could do anything?

        SC: I could, I could say who I believe who ever meet, let me say it this way, (UI)
        see most of it, he said along exact same line we did. You know? (UI) hooked up
        with Nacirema and that's part of it (UI), he told me that.

        NM: Uhm hmm.

        SC: But he'll, he'll (UI). Whoever do best, whoever do best by me, will do, will do
        it.

 T-3037-1 5:3-13, 6:10-20. The jury could infer Cooper’s willfulness and intent based on his




                                                 13
Case 3:10-cr-00104-GC        Document 104        Filed 07/19/12      Page 14 of 58 PageID: 7358




 explanation to Mazzocchi that Salahuddin would award contracts to whoever can provide Cooper

 the most work and that both Cooper and Salahuddin expected to benefit because both “had to

 eat.” Soon after, on September 20, 2006, Salahuddin also met with Cooper and Mazzocchi:

        Ronald Salahuddin: It's more important to me that you two, again, I'm speaking
        Chinese so you understand what I'm saying--

        NM: Yep, yep.

        RS: That you two [Cooper and Mazzocchi] are like this--

        NM: Right.

        RS: Then, anybody else—


        * * *

        RS: I know [Mayor Booker] wants to get the work done. I know he wants
        minority participation, I know he wants this, I know he wants this town cleaned
        up. So, that's all in our advantage. And we know the money's there.

        NM: Uhm hmm.

        RS: Two things he's not gonna' take back, quality of life which is demolition of
        these old, abandoned raggedy buildings and stuff, and police. So, I'm sayin' that I
        just want you two, okay, to be closer.

        NM: Uhm hmm.

        RS: Because, and to be very candid with you, okay? Be very honest. You know.
        You're in such a position to where you're doin' so much and we get some out of
        East Orange, we can get a little out of Newark, uh, once in a while, Irvington,
        nothin' out of Orange, but you’re all over the state—

        NM: Uhm hmm.


        * * *

        NM: You're gonna' help us? Are you gonna' help us? I need--

        RS: That's why I'm sittin' here.




                                                14
Case 3:10-cr-00104-GC        Document 104        Filed 07/19/12      Page 15 of 58 PageID: 7359




       NM: I know. I know. I know. I mean, I'm goin' five years I haven't done nothin',
       so--

       RS: That's why I'm sittin' here.

       NM: Okay. So--

       RS: It's enough to where, now--

       NM: So long as Sonnie's happy, you're happy. That's all there is to it. That's it.
       Cause all I gotta' do is feed Sonnie.

       SC: Yeah.

       RS: (UI) not only that--

       NM: Yeah.

       RS: Yeah, let me finish. So, that's what I'm saying

       NM: Okay.

       RS: Okay? Uhm, I'm gonna, you, you will not be shut out.

       NM: Okay.

       RS: Let's put it that way.

       NM: Okay.

       RS: Okay? I don't know, I don't know why you, I don't know about all that.

       NM: Uhm hmm.

       RS: That was an old administration. This is a new administration.

       NM: Right.

       RS: Okay? Uhm, as far as uhm, demolition and all that stuff, he lets me deal with
       that.

       NM: Okay.

       * * *

       RS: So I mean, I know I'm sayin', I've been talkin' circuitous but, you understand?



                                                15
Case 3:10-cr-00104-GC          Document 104          Filed 07/19/12      Page 16 of 58 PageID: 7360




          NM: Yep.

          RS: So, all I want you to do is, you know, help [Cooper], you know, feed him, not
          a salad, you know, sometimes a man gotta' have steak--

          SC: Exactly.

 T-3040-2, 6:3-8; 7:20-8:10; 9:11-12:16. The references to Mazzocchi and Cooper being tightly

 connected, to the availability of funds for demolition contracts, to Mazzocchi helping Cooper

 and Mazzocchi not being shut out, to Cooper eating, and to Salahuddin managing demolition

 contracts all support the Government’s theory. There are numerous similar references

 throughout this September 20, 2006, conversation. Id. at 16:19-17:6; 18:15-19:4; T-3040-3, 2:3-

 10. Moreover, immediately after this conversation—only one day later—Mazzocchi called

 Cooper and gave him a private demolition job even though Mazzocchi apparently had someone

 else scheduled to do it. T-3041 2:1-3:12 (“NM: Alright and we, we need it done right away.

 They had another guy scheduled to do it…I got rid of him.”). The parties originally agreed to

 $13,000 for the job despite Mazzocchi thinking this was higher than expected. Id.; T-3042-B

 2:16-3:4 (“SC: Okay. I, I figure around thirteen [thousand dollars] for it. Can I get around

 thirteen for it? * * * NM: Alright, alright, alright. That’s a little bit more but it’s for you, I don’t

 care.”). Then on September 28, 2006, Cooper asked for more money for the job, and Mazzocchi

 agreed, this time for $16,000. T-3042C 2:14-3:11. 3 On October 6, 2006, Salahuddin told

 Mazzocchi that he appreciated the work that was given to Cooper and discussed future city

 demolition projects that Mazzocchi might be able to obtain. T-3043 4:19-5:23. Soon after,

 Salahuddin also assisted Mazzocchi in the collection of money he was owed by the City of

 Newark for past projects. Id. at 2:21-4:7; T-3046-A 2:19-6:20; T-3046-B 2:7-3:3.

          Salahuddin and Cooper continued to meet with Mazzocchi and continued to reference
 3
     Eventually Cooper would bill Mazzocchi for $22,000. Gov. Ex. 601.


                                                    16
Case 3:10-cr-00104-GC        Document 104         Filed 07/19/12      Page 17 of 58 PageID: 7361




 Salahuddin directing work to Mazzocchi in exchange for Mazzocchi subcontracting to Cooper.

 On October 31, 2006, the three met for lunch, during which Mazzocchi suggested that because

 he had given Cooper work, he was hopeful he would soon be receiving more government

 contracts, of which Cooper could be a part. Salahuddin seemingly agreed by means of another

 eating-related metaphor.

        NM: Yeah. You know what I mean? Cause that was a big, we upheld all that. We
        did what we were supposed to do, and uhm, you know, if we get a, could get a big
        piece then Sonnie can be with me, you know what I mean? That's all. You know
        like, maybe you say, oh, I got no problem with Mazzocchi, he (UI)--

        RS: (UI) gotta' do is, see now I can go in there with a position of strength--

        NM: Right.

        RS: He says, well, can he handle this? I'll say yes, cause he works with Nick
        Mazzocchi.

        NM: Okay, good. Yeah. Yeah. Right.

        RS: See now, there's no, there's no impediments now.

        NM: Right.

        * * *

        RS: We're having dinner.

        NM: Right.

        RS: We don't wanna' eat the steak.

        NM: Right.

        RS: You earned the steak.

        NM: Right.

        RS: But we can eat the soup and the salad.

        NM: Right, right, right.




                                                 17
Case 3:10-cr-00104-GC          Document 104       Filed 07/19/12       Page 18 of 58 PageID: 7362




        RS: You understand this is the way him, you understand what I'm saying?

        NM: Yeah, yeah, yeah.

        RS: No one's looking for, you understand what I'm saying?

        NM: Right.

        RS: You, you--

        SC: Yeah.

        RS: You gotta' be the pilot. You gotta be the pilot.

        NM: Alright. Okay.

        RS: You earned the pilot's spot.

        NM: Okay.

        RS: We just wanna' be on the boat.

        * * *

        RS: But out of those four [potential contractors, including Mazzocchi], okay who,
        who, who you think we gonna' lean to? Without you saying it?

        NM: I hope so.

        RS: Yeah, the other three, I don't, I don't, I'm not sitting having lunch with.

        NM: Right. I, I hope so. I mean--

        RS: Well, I'm tellin' you. It's there.

 T-3052-2 3:4-14; 4:8-5:4; see also T-3052-3 2:2-3:4.

        RS: So, I, I have to put you in there because now I can say, hey we're able to do
        this and that whatever—

        NM: Right. Yeah (UI).

        RS: (UI), he knows you (UI)--

        NM: (UI) money, you put me in there, he's with me.




                                                  18
Case 3:10-cr-00104-GC         Document 104        Filed 07/19/12      Page 19 of 58 PageID: 7363




        RS: That's, that's what I'm sayin'.

        NM: That's it. We don't need nobody else.

        RS: Alright, no.

        NM: Alright? Ronnie. I really appreciate it.

        RS: No. Thank you Nick.

 T-3052-3 3:21-4:8; see also T-3060 5:10-6:4; T-3063 5:17-6:12. The Government argued to the

 jury that Salahuddin’s discussion of him and Cooper “eating” was an attempt at subtlety and

 confirmed the basic tenet of the arrangement that Mazzocchi could profit substantially from

 Newark City projects because of Salahuddin’s influence and both Salahuddin and Cooper could

 feed off some small portion of the gains.

        Within the framework of this agreement, the Government showed that Mazzocchi was

 awarded several contracts, and subcontracted work to Cooper in connection with those projects,

 from the City of Newark, at Roseville Avenue (T-3080, T-3083, Gov’t Exs. 706, 708) and

 Tichenor Street (T-3091, Gov’t Exs. 807, 810). Cooper gave Salahuddin a check for $5,000

 shortly after he was paid for the Tichenor Street job. Gov’t Ex. 1025. Defendants also discussed

 helping to direct demolition projects related to the building of the New Jersey Devils stadium to

 Mazzocchi so that all could profit. During their conversations about the stadium work,

 Salahuddin insisted that their arrangement remain a secret, otherwise he would not be able to

 effectively lobby for the project:

        RS: I talked to Pablo. I wanna' deal with the city end and I wanna' deal with the
        Dev, the Devils. The Devils is our bigger, bigger piece, I want to get the city,
        ours.

        * * *

        RS: Nick, listen to me. This is the key. The key is if they keep it private, see, you
        have two entities that are partners now. We have the Devils and you have the City



                                                 19
Case 3:10-cr-00104-GC         Document 104           Filed 07/19/12   Page 20 of 58 PageID: 7364




        of Newark. My job is to keep it private. The Devils wanna' keep it private. If it's
        kept private, now they can hire anybody they want to do the work.

 T-3064 3:21-4:20. Salahuddin hoped to direct millions of dollars worth of work related to the

 stadium to Mazzocchi and Cooper. T-3075 3:7-4:19 (“RS: I mean that’s, that might be 5, 10

 million dollars worth of road work and demolition…That’s the real money. You know. So, just

 got to keep ourselves in position.”).

        In addition, Mazzocchi made several political contributions at Salahuddin’s insistence.

 These included a $5,000 donation by Mazzocchi to Newark Now, a non-profit organization

 associated with Newark Mayor, Cory Booker (9/12/2011 Trial Tr. at 79-80; Gov’t Ex. 2001);

 $3,000 to purchase a table at a fundraiser for Mayor Booker (T-3091-2 7-9); and $4,000 in

 donations by Mazzocchi for Empower Newark, a Newark-based political action committee

 (9/20/2011 Trial Tr. at 107-108; Gov’t Exs. 2004, 2005, 2006, 2008; T-3064 10:6-10). When

 Mazzocchi discussed these donations with Salahuddin, Salahuddin suggested the donations were

 made in furtherance of the conspiracy so that everyone could “eat”

        RS: You see, this now, okay, when Mazzocchi name’s comes up when the
        demolition comes up--

        NM: Hmm.

        RS: I've already, listen. I already told--

        NM: Yeah, uhm hmm.

        RS: Pablo.

        NM: Uhm hmm.

        RS: Okay? He's the, he's the Chief of Staff.

        NM: Yep.

        RS: And I hand him this, you know with mine and Sonnie's, its locked in--




                                                     20
Case 3:10-cr-00104-GC           Document 104       Filed 07/19/12    Page 21 of 58 PageID: 7365




        NM: Yeah. And I, and I got no problem doin' more but I gotta' eat.

        RS: No, no, no, no, no--

        NM: But you understand what I'm saying?

        RS: Let me say something to you--

        NM: If, if, if the--

        RS: Let me say something to you. Let me say something to you. This was done,
        there won't be anymore, until we all eat. Including Sonnie.

        NM: Um hmm. Yeah. Okay. Okay.

        RS: Okay? I mean this is not, you know--

        NM: Right.

        RS: List, feed me and I'll, I'll, I'll--

        NM: Right.

        RS: Appreciate the food. I can't keep--

        NM: You're exactly right. That's, that's what I mean.

        RS: I can't tell you.

        NM: That's what I mean.

        RS: Feed.

 T-3066-2 4:16-5:20. The jury could understand from this conversation that if everyone wanted

 to profit, including Cooper, then Mazzocchi had to make the donations so that Salahuddin could

 influence the contracting process.

        The Court could continue in this fashion for many pages. This only represents a sample

 of the Government’s evidence presented to the jury. Considered singly, each snippet of

 conversation may not be convincing, but, as a whole, the totality of the evidence firmly supports

 the jury verdict. Salahuddin’s statements about directing contracts to Mazzocchi, all parties



                                                   21
Case 3:10-cr-00104-GC           Document 104        Filed 07/19/12       Page 22 of 58 PageID: 7366




 mentioning Salahuddin and Cooper “eating” or “being taken care of,” Cooper discussing that

 whomever takes the best care of him will be taken care of by Salahuddin, Salahuddin and Cooper

 describing each other as “partners,” Salahuddin’s financial interest in Cooper Brothers Trucking,

 and Salahuddin soliciting Mazzocchi for political contributions in order to help direct demolition

 contracts to Mazzocchi all suggest a conspiracy willfully entered into by Salahuddin and Cooper

 where both intended Salahuddin to use his official capacity to direct projects to Mazzocchi if in

 turn Mazzocchi would share that work with Cooper so that both Cooper and Salahuddin could

 profit.

           Defendants’ initial Rule 29 motion was made at the end of the Government’s case-in-

 chief and the Court reserved judgment until after the jury reached a verdict. Therefore, I must

 rule on Defendants’ motion first based on the evidence at the end of the Government’s case.

 Brodie, 403 F.3d at 134. The evidence discussed above was introduced to the jury during the

 Government’s case; this included the 78 recorded conversations and corroborating support of

 physical, documentary, and testamentary evidence from Newark officials and Mazzocchi. Based

 on this evidence, and reviewing it in a light favorable to the prosecution, the Court finds there is

 substantial evidence from which any rational trier-of-fact could have found Salahuddin and

 Cooper guilty beyond a reasonable doubt. To hold otherwise would merely be substituting the

 Court’s opinion for that of the jury.

           As part of the Defense case, Salahuddin introduced evidence and testimony intended to

 show that he and Cooper were not motivated by any intent to extort payment but rather by a

 desire to help minority businesses in Newark, such as Cooper’s. 4 In particular, Salahuddin

 testified that his intent was not conspiratorial nor criminal, but benign and he only sought to

 advance the interests of minority business owners in Newark. Salahuddin did not offer evidence
 4
     Cooper did not offer any witnesses of his own nor did he testify.


                                                   22
Case 3:10-cr-00104-GC          Document 104        Filed 07/19/12       Page 23 of 58 PageID: 7367




 that sufficiently rebutted the Government’s case or negated the Government’s evidence. Rather,

 he offered an alternative theory on how to view that evidence. As is discussed in further detail

 below, it was for the jury to accept or reject that theory—to decide what Defendants’ motivations

 were and whether they had the requisite intent to commit the crimes charged. Again, in

 considering a Rule 29 motion, the Court must weigh the evidence in the light most favorable to

 the prosecution. United States v. Silveus, 542 F.3d 993, 1002 (3d Cir. 2008). The jury accepted

 the Government’s theory and that theory was supported by substantial evidence as discussed

 above. Therefore, even considering the evidence and testimony offered after the Government’s

 case, Defendants’ renewed Rule 29 motion must also be denied. Based on the evidence

 presented at trial, a reasonable jury could conclude beyond a reasonable doubt that Defendants

 conspired to violate the Hobbs Act as charged in Count One.

        b. The Jury’s Verdict was Not Against the Weight of the Evidence

        Cooper offers a number of arguments why, even if his Rule 29 motions are denied, a new

 trial must be granted because the verdict is against the weight of the evidence under Rule 33. As

 stated before, this is a different standard than the Court applies to Defendants’ Rule 29 motions.

 When a district court evaluates a Rule 33 motion it does not view the evidence favorably to the

 government. Silveus, 542 F.3d at 1005. Nevertheless, such motions are granted sparingly and

 only if the Court finds that the verdict is contrary to the weight of the evidence and that there is a

 serious danger that a miscarriage of justice has occurred. Id.

        Cooper stresses what he views as the lack of direct evidence and argues that fact should

 frame the Court’s review of the record. Cooper is correct that the recordings are not all direct,

 explicit statements evidencing an illegal agreement between himself, Salahuddin, and

 Mazzocchi. Nevertheless, the evidence supports a finding that such an agreement existed, and




                                                  23
Case 3:10-cr-00104-GC          Document 104        Filed 07/19/12       Page 24 of 58 PageID: 7368




 contrary to Cooper’s argument, there is also substantial evidence that both Salahuddin and

 Cooper were aware of the unlawful nature of the agreement and intended to partake in it and

 share its benefits. As shown above, the parties would often speak in metaphor, alluding to the

 fact that while Mazzocchi could have the main course—the steak—Salahuddin and Cooper had

 to eat also. Salahuddin would repeatedly emphasize that he could not be direct and instead say

 that he had to speak “Chinese” or be “circuitous.” He felt confident that their agreement would

 be beyond reproach because Salahuddin was “not on paper.” At other times, however,

 Salahuddin was concerned who might be listening and the ramifications if then U.S. Attorney

 Chris Christie or the F.B.I. found out about their arrangement. T-3042-2 18. This conduct

 suggests that the parties were aware they were attempting to circumvent normal legal methods

 for assigning government contracts and doing so for profit. Therefore, the evidence substantially

 supports a finding that Salahuddin and Cooper joined or originated the conspiracy with an intent

 to extort a form of payment using Salahuddin’s official power.

        Nevertheless, Cooper argues that the verdict cannot stand because Mazzocchi’s trial

 testimony was so riddled with contradictions it could not be believed and therefore must be

 discounted. There is little doubt that Mazzocchi himself was an unsavory character who played

 “a part” in this scheme and that he had a history of illegal interactions with public officials. 5 But

 Cooper’s argument erroneously asserts that the Government’s case rested “almost exclusively on

 the trial testimony of Mazzocchi and Mazzocchi’s efforts to create the appearance of

 impropriety.” Cooper Br. at 10. Were this assertion correct, then Cooper’s argument might hold

 5
   Cooper relies heavily on the fact that Mazzocchi agreed to cooperate with the Government in
 exchange for not being prosecuted for certain earlier crimes. The jury was made very aware of
 Mazzocchi’s agreement with the Government as well as his prior payments of bribes to public
 officials; the jury was free to factor these facts into its determination. Indeed, the jury was so
 instructed to consider these circumstances in evaluating Mazzocchi’s testimony. It is beyond the
 Court’s power here to find as a matter of law that Mazzocchi was biased.


                                                  24
Case 3:10-cr-00104-GC        Document 104        Filed 07/19/12     Page 25 of 58 PageID: 7369




 more weight. Instead, much of the evidence comes from Cooper’s own statements as well as his

 acquiescence in what others said to him when explaining the conspiracy. For example, at the

 August 24, 2006 meeting Cooper agreed that he should be given work if Mazzocchi was given

 work and that Cooper would “do very well.” Then, at the September 26, 2006 meeting, Cooper

 put this arrangement into his own words: “[Salahuddin] said to me whatever we do, we have to,

 you know, I have to eat and he has to eat” and that “whoever do best by me” will be rewarded.

 Other times Mazzocchi would confirm the plan with Cooper and Cooper would respond

 approvingly. The jury was free to conclude that when Mazzocchi said something like “all I

 gotta' do is feed Sonnie” and Cooper responds “Yeah” he was agreeing to the conspiracy. It is

 reasonable to infer that Cooper’s agreement with Mazzocchi is proof of the agreement just as is

 Mazzocchi’s explicit statement. These few instances are examples of what is replete throughout

 the recorded conversations—either Cooper agreeing with the contours of the conspiracy or

 explicitly explaining it to Mazzocchi. Cooper was not alone in this; Salahuddin also discussed

 and reiterated the plan—indeed, far more often than Cooper.

        Along these lines, Cooper argues that the “Defendants’ conduct was entirely innocent”

 and “they never responded to Mazzocchi’s veiled attempts to make an arrangement.” Cooper Br.

 at 12. As shown above, this is not accurate. Both Cooper and Salahuddin met with Mazzocchi,

 outlined the arrangement in their own words, and agreed with Mazzocchi when he did likewise.

 After Mazzocchi gave Cooper some work, one day after meeting with Salahuddin, then

 Salahuddin repeated that he appreciated it and worked to get Mazzocchi money that the city

 owed him as well as more contracts. Cooper took this work, even continued to ask for more

 money for it, although he knew it had already been offered to someone else. This substantially

 supports a finding that Defendants confirmed the conspiracy with both their words and their




                                                25
Case 3:10-cr-00104-GC          Document 104         Filed 07/19/12       Page 26 of 58 PageID: 7370




 actions.

         Even if Mazzocchi’s testimony was foundational to the verdict, the jury was free to

 believe those portions that supported the Government’s case. Many of Mazzocchi’s testimonial

 “inconsistencies” that Cooper points to either sprout from misunderstandings between the

 pointed questions of counsel or are irrelevant to the substantive issues involved in this matter.

 For example, Cooper juxtaposes Mazzocchi’s testimony regarding whether Mazzocchi had

 committed illegal bribes in the past. The thrust of this testimony is that in his earlier dealings

 Mazzocchi believed that agreeing to a “shakedown” was not illegal to acquire business, but he

 now understands that it was an illegal bribe. Cooper suggests that Mazzocchi always knew it

 was illegal and that his inconsistent testimony is proof that he is lying. There is no doubt that

 Mazzocchi was attempting to minimize his prior misdeeds and that his claimed epiphany about

 the illegality of those actions at trial lacked credulity. Nevertheless, whether or not Mazzocchi

 thought his conduct prior to being involved with Defendants was illegal is immaterial to the

 issues before the Court today. Defendants’ counsel each pressed him on these points and

 suggested to the jury that Mazzocchi was lying; the jury was free to discount his testimony or

 accept it in whole or in part. It is centrally their province to act as fact finder and judge the

 witness’s credibility. Moreover, no one knows what portion, if any, of Mazzocchi’s testimony

 the jury relied upon, because the jury also had the tapes of the conversations between Mazzocchi,

 Salahuddin, and Cooper. Whether or not the jury agreed with Defendants’ characterization of

 Mazzocchi as a witness who could not be trusted is not a basis to overturn the conviction or grant

 a new trial.

         Another supposed inconsistency is whether Mazzocchi was being truthful in his

 testimony regarding how he initially met Cooper. Defendants argue that Mazzocchi originally




                                                   26
Case 3:10-cr-00104-GC         Document 104          Filed 07/19/12    Page 27 of 58 PageID: 7371




 testified he met Cooper through Salahuddin and then reversed himself, saying he met him

 through Parlavecchio. Aside from the issue of whether this is even relevant to the substantive

 issues at hand, a review of the transcript and the recordings show there is no actual

 inconsistency. Mazzocchi only met Cooper because he believed that if he wanted to do business

 through Salahuddin he had to give business to Cooper. And it was through Parlavecchio that

 Mazzocchi learned of this arrangement. See T-3034-1 – T-3034-4. This does not preclude

 Mazzocchi’s testimony that he met Cooper through Salahuddin’s insistence, even though he

 learned of that insistence through Parlavecchio.

        Cooper also argues that because Mazzocchi had prior experience bribing public officials,

 he would have obtained specific terms from Salahuddin and Cooper instead of talking “Chinese”

 as Defendants put it or discussing how Salahuddin and Cooper wanted to eat a portion of what

 Mazzocchi was being fed. But the jury could have inferred this obfuscation to be purposeful,

 designed by Defendants to avoid the very issue that Cooper raises: preventing the terms from

 being made so clear that a conviction could be easily had. This is further supported by the fact

 that Salahuddin and Cooper spoke in metaphors, Salahuddin was concerned about others

 discovering the arrangement, or other times lauded the fact that he was “not on paper.”

        Along these lines, Cooper contends that it was a failure of proof for the Government not

 to establish an explicit “payment term and concealment term” through testimony or the recorded

 conversations. In other words, Cooper complains about the relative lack of direct proof. It is

 well understood that such proof is not a prerequisite for a conviction. A conspiracy is often born

 of surreptitious means and is nurtured in shadow—to require direct evidence of all terms and

 aspects would allow conspirators to profit from their subterfuge. “Secrecy and concealment are

 essential features of successful conspiracy. The more completely they are achieved, the more




                                                    27
Case 3:10-cr-00104-GC          Document 104         Filed 07/19/12       Page 28 of 58 PageID: 7372




 successful the crime. Hence the law rightly gives room for allowing the conviction of those

 discovered upon showing sufficiently the essential nature of the plan and their connections with

 it, without requiring evidence of knowledge of all its details or of the participation of others.”

 Blumenthal v. United States, 332 U.S. 539, 557 (1947); see also United States v. Smith, 294 F.3d

 473, 476 (3d Cir. 2002) (“The existence of a conspiracy can be inferred from evidence of related

 facts and circumstances from which it appears as a reasonable and logical inference, that the

 activities of the participants . . . could not have been carried on except as the result of a

 preconceived scheme or common understanding.”) (quoting United States v. Gibbs, 190 F.3d

 188, 197 (3d Cir. 1999); Brodie, 403 F.3d at 134. The jury was free to infer that the statements

 about Mazzocchi giving work to Cooper or about Mazzocchi supporting certain causes suggested

 by Salahuddin constituted the “payment term.” Moreover, it was not necessary for Defendants to

 receive monetary payment; in the context of the Hobbs Act, payment includes both tangible and

 intangible property, such as Mazzocchi’s promise to provide subcontract work to Cooper or

 provide payments to causes supported by Salahuddin. See Scheidler v. Nat’l Org. of Women,

 Inc., 537 U.S. 393, 402 (2003).

         Cooper also argues that any payment he received was only for work he performed. This

 may be true, but that does not affect the jury’s verdict or how the Court should interpret the

 evidence. The issue is not how much Cooper was paid for his work, but how he received the

 work in the first place. It is immaterial that Mazzocchi paid Cooper for the subcontracted work.

 The jury could infer from the evidence that Mazzocchi gave Cooper work at Salahuddin’s and

 Cooper’s insistence and in exchange for Salahuddin’s promise to assign more city contracts to

 Mazzocchi. Direct evidence established that Mazzocchi gave Cooper work that he had already




                                                   28
Case 3:10-cr-00104-GC          Document 104        Filed 07/19/12      Page 29 of 58 PageID: 7373




 allocated for someone else. 6 This pattern was repeated as Mazzocchi was awarded other Newark

 demolition work. In February 2007, Salahuddin promised to speak to Elyze Minter (“Minter”),

 Newark’s Director of Demolition, to get Mazzocchi “some hits.” T-3080-3 at 3. Salahuddin

 believed he could influence Minter’s decision making process. Then on February 27, 2007,

 Newark gave Mazzocchi a contract for demolition work on Roseville Avenue. Mazzocchi

 subcontracted to Cooper, who received $2,900. Then in April, Mazzocchi was awarded a

 demolition contract for a building on Tichenor Street. Mazzocchi again subcontracted work to

 Cooper and paid him $5,029—a check that was sent to Cooper via Salahuddin. It was reasonable

 for the jury to find that but for the agreement between Defendants and Mazzocchi to use

 Salahuddin’s influence, Mazzocchi would not have subcontracted with Cooper. That was the

 essence of the Government’s case and it was supported by substantial evidence.

        In connection with these contracts, Cooper points to Salahuddin’s statements from

 February 27, 2007, and argues no conspiracy existed because Salahuddin said that Mazzocchi

 did not have to use Cooper for a job. What Salahuddin actually said was that Mazzocchi did not

 have to use Cooper “on this one” because Salahuddin and Cooper had “got a lot of stuff.”

 Nevertheless, Mazzocchi said that he would give Cooper some work and Salahuddin responded

 that he appreciated it. In particular:

        NM: Okay, and um, how about that what do you want me to do with Sonnie?

        RS: No, no, no don't worry about that, that, that's not, you know, that, we got we
        got a lot of stuff to do that's you, just, ah, you know don't, don't worry about that.
        Just do what you gotta do.

        NM: Alright.

        RS: If you got, have you got, have you got something for him and you want to
        give him take the stuff out or whatever, whatever you, if you can do something
 6
  Potentially belying Cooper’s argument is that Mazzocchi paid Cooper substantially more than
 he thought was fair, which Cooper accepted without question.


                                                  29
Case 3:10-cr-00104-GC         Document 104          Filed 07/19/12       Page 30 of 58 PageID: 7374




        for him you can, you can, if you don't, on this one don't worry about it, but if you
        can --

        NM: No, I can, I can, I can, um, ah, should I call him or you want to call him and
        send me a truck?

        RS: Yeah, no you, you call him and just tell him what you need, what to send you.

        NM: Okay.

        RS: I'll just call him and tell, I'll just call him and tell him that you're gonna,
        you're gonna call him.

        NM: Alright, I appreciate it Ronnie.

        RS: I appreciate you too okay.

 T-3083D at 3:3-18. This could be understood in one of two ways: either disputing the

 Government’s theory that Cooper’s involvement was part of an illicit extortion scheme or

 supporting that theory because Salahuddin responded that not using Cooper this one time would

 be a potential exception because Salahuddin and Cooper were both busy, yet he nevertheless

 approved of and appreciated Mazzocchi giving Cooper work as part of their secret arrangement.

 Salahuddin’s use of the first-person plural when he told Mazzocchi “we got a lot of stuff”

 supports this inference. Even if one interpreted the conversation as Defendants wish, it falls far

 short of disputing the weight of all other evidence or suggesting the jury’s verdict represents a

 serious miscarriage of justice.

        Cooper also argues that Mazzocchi’s relationship with Parlavecchio exculpates

 Defendants. In particular, (1) Cooper points to what he believes are inconsistencies with

 Mazzocchi’s testimony about his relationship with Parlavecchio; (2) argues that Mazzocchi

 extricated Parlavecchio from the conspiracy so that Mazzocchi could exercise more control over

 Defendants’ conduct; and (3) ultimately Mazzocchi himself never had a firm grasp on the

 contours of the conspiracy because one never truly existed. It is not clear how these points are



                                                   30
Case 3:10-cr-00104-GC         Document 104        Filed 07/19/12     Page 31 of 58 PageID: 7375




 related or how they suggest that Defendants are innocent. What is clear is that the evidence

 supports finding Salahuddin and Cooper guilty of conspiracy irrespective of Parlavecchio’s role.

 The recorded conversations show that even if Parlavecchio first introduced Mazzocchi to

 Salahuddin and Cooper, at some point Parlavecchio’s involvement was minimized and kept

 separate from the vast majority of interactions between Mazzocchi, Salahuddin, and Cooper. On

 several occasions Parlavecchio chastised Mazzocchi for trying to develop a relationship with

 Salahuddin without him and Mazzocchi asked Salahuddin and Cooper both not to discuss their

 arrangement with Parlavecchio. No matter the motive or the potentially improper relationship

 between Mazzocchi and Parlavecchio, this does not absolve Salahuddin and Cooper of their

 separate involvement with Mazzocchi nor does it belie the Government’s evidence of the

 conspiracy.

        In support of his argument that he lacked intent, Cooper argues that he made no attempt

 to conceal his relationship with Mazzocchi and points to the fact that he was willing to accept a

 check rather than cash for the Roseville Avenue job. Cooper Br. at 32. As discussed above, the

 thrust of the Government’s case was not that Cooper had to hide the fact that he obtained work

 through Mazzocchi, but that he had to hide how he obtained that work. If anything, the

 conversation cited by Cooper implies that he at least had knowledge of the conspiracy and its

 objective because it suggests he knew there was a reason to want to hide the arrangement. In

 particular, after Mazzocchi asked him about the form of payment and Cooper responded “It don't

 make no difference,” Mazzocchi pressed and asked:

        NM: You know what I mean? Cause I know, I know, you're—

        SC: Right, right.

        NM: You know, maybe that helps you out with Ronnie--




                                                 31
Case 3:10-cr-00104-GC         Document 104        Filed 07/19/12     Page 32 of 58 PageID: 7376




        SC: Okay.

        11 NM: Or somethin' like that--

        12 SC: Okay.

        13 NM: You know what I mean? I'll give you cash. You know what--

        14 SC: Okay.

        15 NM: I wanna' do the right thing, Sonnie.

        16 SC: Okay.

 T-3085 at 4:7-16. The recorded conversations showed that Cooper was a man of few words,

 often responding “okay,” but the jury could have concluded that if there was no underlying

 impropriety, then Cooper would have been more flummoxed by this conversation, incredulous at

 Mazzocchi’s concerns that paying in cash helped out Cooper and Salahuddin because that was

 the “right thing” to do. Therefore, the jury could have concluded that this evidence supported the

 existence of the conspiracy alleged by the Government, especially in the context of the other

 recorded conversations.

        Similarly, the fact that Salahuddin did not conceal his attempts to lobby for Mazzocchi is

 unavailing to Defendants’ theory. According to Mayor Booker’s testimony, Salahuddin had no

 actual authority to unilaterally award demolition contracts. 9/20/2011 Trial Tr. at 74. Rather,

 Salahuddin had to work through other officials and agencies. Therefore, in order for the

 arrangement to work, he had to openly lobby for Mazzocchi. Hiding his financial relationship

 with Cooper then would allow him to lobby more effectively as did asking Mazzocchi to

 contribute to certain political causes. This allowed Salahuddin to approach officials, such as

 Minter who had the actual authority to award demolition contracts, and say that Mazzocchi was a

 “friend of the administration.” Minter testified that he only awarded contracts to Mazzocchi




                                                 32
Case 3:10-cr-00104-GC          Document 104         Filed 07/19/12       Page 33 of 58 PageID: 7377




 because Salahuddin made such representations:

         Q. What was your understanding as to why Deputy Mayor Salahuddin was telling
         you that Fiore was not a friend of the administration and Mazzocchi was a friend
         of the administration?

         A. As I indicated, I got the impression that the work that I had been giving to
         Teddy Fiore, that I should give to Mazzocchi.

 9/21/2011 Trial Tr. at 25:13-19. Further, it is immaterial that Salahuddin did not have actual

 power to award contracts as he suggested to Mazzocchi. A public official does not necessarily

 need to possess the power to do what he is promising. It is enough that a payment is made or a

 benefit is conferred in hopes that it will influence the official in the exercise of his office and if

 the official accepts the payment or benefit with that understanding. United States v. Antico, 275

 F.3d 245, 258 (3d Cir. 2001) (“The Hobbs Act simply states that use of one’s office to obtain

 money or services not due is extortion.”); United States v. Mazzei, 521 F.2d 639, 643 (3d Cir.

 1975) (stating that a jury need not find a public official had “actual de jure power” to do what he

 promised).

         Next, Cooper argues there was neither an improper, nor any, business relationship

 between himself and Salahuddin and further, that there was no evidence to support that

 Mazzocchi subtracting to Cooper was a means to pay off Salahuddin. The Court agrees that

 while some of the evidence can be interpreted to support Cooper’s position, it was for the jury to

 decide this issue, and the Government introduced substantial evidence to find there was a

 concealed relationship between Salahuddin and Cooper and that they designed this scheme so

 that they both could profit. Salahuddin had provided significant financial support for Cooper’s

 business in 2004, when he mortgaged property to give Cooper a loan so that Cooper could obtain

 a bond (Exs. 307, 309, 1008A), Salahuddin served as a general indemnitor for the bond (Ex.

 306), and provided money for expenses (Exs. 1005, 1007). The recorded conversations also



                                                    33
Case 3:10-cr-00104-GC         Document 104           Filed 07/19/12   Page 34 of 58 PageID: 7378




 repeatedly demonstrated that Salahuddin and Cooper saw themselves as a single unit. For

 example, on March 8, 2007, Salahuddin and Mazzocchi had a telephone conversation in which

 Salahuddin was lamenting that Cooper’s Liquor Store was going to be investigated by Newark’s

 Alcohol Beverage Control. Because of Salahuddin’s position as head of a related task force, he

 explained to Mazzocchi that he had to allow the investigation to proceed otherwise people would

 be suspicious because “I do business with the guy.” T-3084 at 5. Later in the same

 conversation, he referred to Cooper as his “partner.” Id. at 6 (“I’m in charge of the task force

 and I gotta’ close down my own partner.”). Similarly, Cooper informed his bond broker, Philip

 Tobey, that Salahuddin was his “silent partner.” Ex. 311; 09/09/2011 Trial Tr. at 161-162.

 Moreover, on September 20, 2006, when Salahuddin met with Mazzocchi in person and

 discussed his arrangement with Cooper, Salahuddin said that “Sometimes you can’t say

 everything [because] you never know who’s listening.” T-3040-2 at 17:17-19. Nevertheless, he

 expressed confidence that even if he were being investigated by the U.S. Attorney’s Office, he

 was not “on paper” further suggesting his relationship with Cooper was secret. This is what was

 said:

         RS: Me, you know, Chris Christie, the Attorney General will be looking at me--

         NM: Yeah, you gotta' stay clean.

         RS: I ain't got a connection to anything.

         NM: You gotta stay clean.

         RS: You see? So--

         NM: They look at you just because you're friends with him [Cooper]?

         RS: Oh yeah. Yeah. But the good thing about this, I'm not on paper anywhere, no
         son, no girlfriend, no wife, no nothin'.

 Id. at 18:15-22. As the Government pointed out at trial, neither Cooper nor Salahuddin disclosed



                                                     34
Case 3:10-cr-00104-GC         Document 104         Filed 07/19/12      Page 35 of 58 PageID: 7379




 their financial involvements with each other to Newark officials. Perhaps most telling is that in

 their recorded conversations, Salahuddin and Cooper often invoked “we” when referring to any

 benefits that were to flow to Cooper. While Salahuddin tried to explain at trial that he meant

 only Cooper, the jury was free to discount his testimony. Cooper dismisses this as merely

 “Salahuddin’s pompous, vague innuendoes.” Cooper Br. at 5. Again, it is for the jury to decide

 whether that was the case or not. The evidence, therefore, substantially supports a finding that

 there was a significant financial relationship between Cooper and Salahuddin.

        Finally, Cooper argues that because he had already received work from the city through

 Minter, he had no reason to join the conspiracy. Again, the jury was free to accept this

 reasoning, but did not need to. Substantial evidence supports the Government’s theory that

 Cooper, through his relationship through Salahuddin, was looking for more work and did accept

 work from Mazzocchi. Simply because he had received work in the past, does not negate the

 possibility that Cooper wanted additional contracts. Such a conclusion is supported by the

 evidence, including the recorded conversations. Cooper explained that he was looking for

 people to “take care” of him and when Mazzocchi offered him work, he immediately accepted.

        I do not find that the jury’s guilty verdict was against the weight of the evidence or that

 the interests of justice require me to vacate the verdict and order a new trial. Indeed, the

 evidence supports the jury’s finding that a conspiracy existed, that Defendants joined it, and that

 their involvement was willful and they intended to achieve the aims of the conspiracy, namely to

 use Salahuddin’s purported influence to direct contracts to Mazzocchi and in turn subcontracts to

 Cooper. Many of Cooper’s arguments are more properly made to a jury—and were made to the

 jury. That the jury did not accept them does not provide sufficient reason for a new trial.

        c. The Verdict Was Not Inconsistent




                                                  35
Case 3:10-cr-00104-GC          Document 104        Filed 07/19/12      Page 36 of 58 PageID: 7380




          Salahuddin and Cooper separately argue that perceived inconsistencies in the jury’s

 verdict require the Court to vacate the conviction. The jury acquitted Defendants on Count Two,

 attempting to violate the Hobbs Act, and Counts Three through Five, the counts alleging

 substantive violations of the Hobbs Act. 7 Because the dismissed counts incorporated conduct

 alleged in Count One, Defendants posit, albeit each in a different way, that they must then be

 innocent of Count One as well. In essence, they argue that the conspiracy charge cannot stand

 unless the Government proved the conduct alleged in any of Counts Two through Five.

          Salahuddin in particular focuses on this argument in his briefing to the Court. He argues

 that a Hobbs Act conspiracy requires an overt act of agreeing to, and accepting, the benefits

 promised. Salahuddin Br. at 11 (“Hence it is clear the Government must prove that defendant

 actually obtained the things of value set forth in the indictment.”). Accepting this as true, then

 Salahuddin contends acquittals on the substantive charges would by necessity require a not guilty

 verdict on the conspiracy charge. Much of Salahuddin’s argument is premised upon a

 condemnation of the concept of conspiracy generally—which is beyond the Court’s power to

 remedy—as well as a misunderstanding of conspiracy as applied to the Hobbs Act in particular.

 With denunciatory fervor, Salahuddin likens a conspiracy charge to a dangerous mythical beast

 that threatens the freedom of our citizenry. Salahuddin Reply at 5. But the evils engendered by

 illegal conspiracies are well discussed, and well known to courts.

          This settled principle derives from the reason of things in dealing with socially
          reprehensible conduct: collective criminal agreement—partnership in crime—
          presents a greater potential threat to the public than individual delicts. Concerted
          action both increases the likelihood that the criminal object will be successfully
          attained and decreases the probability that the individuals involved will depart
          from their path of criminality. Group association for criminal purposes often, if
          not normally, makes possible the attainment of ends more complex than those
          which one criminal could accomplish. Nor is the danger of a conspiratorial group
          limited to the particular end toward which it has embarked. Combination in crime
 7
     As mentioned above, Cooper was not charged in Count Four.


                                                   36
Case 3:10-cr-00104-GC          Document 104        Filed 07/19/12       Page 37 of 58 PageID: 7381




          makes more likely the commission of crimes unrelated to the original purpose for
          which the group was formed. In sum, the danger which a conspiracy generates is
          not confined to the substantive offense which is the immediate aim of the
          enterprise.

 Callanan v. United States, 364 U.S. 587, 593-94 (1961) (discussing the Hobbs Act); see

 also United States v. Feola, 420 U.S. 671, 694 (1975) (“The law of conspiracy identifies

 the agreement to engage in a criminal venture as an event of sufficient threat to social

 order to permit the imposition of criminal sanctions for the agreement alone, plus an

 overt act in pursuit of it, regardless of whether the crime agreed upon actually is

 committed.”); United States. v. Jannotti, 673 F.2d 578, 591 (3d Cir. 1982) (“Because an

 agreement between two or more persons to commit criminal acts poses, in and of itself, a

 serious danger to social order, it is proscribed by the law of conspiracy.”). The larger the

 conspiracy or the less defined its aims, the more elastic its contours become, and it

 becomes susceptible to such stretching by the Government that courts must be wary of

 overreaching, of attempts to ensnare otherwise innocent conduct into the amorphous

 bounds of the conspiracy and its effects and consequences. But Defendants have not

 shown that to be the case here. Rather, as discussed above, the evidence supported a

 verdict that Defendants purposefully and directly engaged in a plan to use Salahuddin’s

 influence as Deputy Mayor for gain. That the jury found Defendants did not fully

 accomplish their goal does not in and of itself require acquittal or a new trial; there is no

 requirement that a Hobbs Act conspiracy can only be shown by obtaining extorted

 property. To so hold would merge the conspiracy and the substantive offense into one

 crime.

          There is a significant distinction between a substantive offense and a conspiracy to

 commit that substantive offense. An unrealized conspiracy is no less criminal than a realized



                                                   37
Case 3:10-cr-00104-GC         Document 104         Filed 07/19/12      Page 38 of 58 PageID: 7382




 conspiracy; the illegality lies chiefly in making the agreement, not in achieving its ends. See

 Callanan, 364 U.S. at 593; Jannotti, 673 F.2d at 591; United States v. Hsu, 155 F.3d 189, 203 (3d

 Cir. 1998) (“It is thus the conspiratorial agreement itself, and not the underlying substantive acts,

 that forms the basis for conspiracy charges.”). But Salahuddin argues that “there must be an

 allegation and proof that defendants’ criminal act ‘crystallized,’ i.e. that they agreed to accept

 contributions, future payments and contracts for Cooper in exchange for future political favors

 and that such ‘crystallization’ is demonstrated by defendants obtaining contributions, future

 payments and contracts for Cooper, which constitutes the sine qua non overt act substantiating a

 charge for conspiracy.” Salahuddin Br. at 11. He cites to the Third Circuit’s decision in United

 States v. Manzo, 636 F.3d 56 (3d Cir. 2011), for support. Nowhere in that opinion did the court

 hold or suggest that a Hobbs Act conspiracy charge (or the intent element of such a charge)

 requires proof that a defendant obtained property. What Defendant quotes from is a portion of

 the Manzo opinion where the Third Circuit is restating the Government’s position that the

 defendant’s intent “crystallized” when he agreed to accept payment in exchange for favors. Id.

 at 66. It is not a holding or rule of law, as suggested by Salahuddin, nor does it address whether

 a conspiracy charge requires a defendant to have obtained contributions or payment. Rather, it

 addresses how a defendant’s intent can be proven. Here, too, Salahuddin’s intent to join the

 conspiracy could have been said to crystallize when he agreed to accept payment, i.e. Mazzocchi

 subcontracting to Cooper, in exchange for favors. Salahuddin also quotes from Manzo for the

 proposition that the Government must prove that Defendants received “a thing of value” in order

 to sustain the conviction. But counsel neglects to inform the Court that this quote is regarding an

 attempt charge and that the Manzo Court nowhere held or suggested that a conviction for

 attempt, let alone conspiracy, requires proof that Defendants actually obtained a thing of value.




                                                  38
Case 3:10-cr-00104-GC          Document 104         Filed 07/19/12      Page 39 of 58 PageID: 7383




 Rather, the full quoted language reads:

        An attempt conviction requires evidence that the defendants (1) acted with the
        requisite intent to violate the statute, and (2) performed an act that, under the
        circumstances as they believe them to be, constituted a substantial step in the
        commission of the crime.

 Id. (internal edits and quotation omitted).

        Salahuddin also relies on United States v. Jannotti, 673 F.2d 578 (3d Cir. 1982), for the

 same proposition. There, the Third Circuit discussed the jurisdictional requirements of the

 Hobbs Act and whether the alleged conduct affected interstate commerce. 8 The Jannotti Court

 explained, quite succinctly, that a conspiracy to violate the Hobbs Act is not the same as the

 substantive offense of violating the Hobbs Act and one can prove a conspiracy without conduct

 actually affecting interstate commerce. Id. at 591 (“In so arguing, defendants overlook the

 significant distinction between a conviction for a substantive offense and a conviction for a

 conspiracy to commit the substantive offense.”); Hsu, 155 F.3d at 203 (“The impossibility of

 achieving the goal of a conspiracy is irrelevant to the crime itself.”).

        Generally a conspiracy requires the commission of an overt act. In part, this serves to

 corroborate the conspirators’ intent and to show that their criminal enterprise had proceeded past

 mere conjecture. Contrary to Defendants’ position, an overt act does not require, however, that

 the aims of the conspiracy be completed. Indeed, some case law holds that no overt act is

 required for a Hobbs Act conspiracy. United States v. Palmer, 203 F.3d 55, 63-64 (1st Cir.

 2000) (“Evidence of an overt act is not required to establish a Hobbs Act conspiracy.”); United

 States v. Pistone, 177 F.3d 957, 960 (11th Cir. 1999); Ladner v. United States, 168 F.2d 771, 773

 (5th Cir. 1948) (conspiracy to interfere with interstate commerce “does not require an overt act to

 complete the offense”); United States v. Facciolo, 753 F. Supp. 449, 451 (S.D.N.Y. 1990) (“The
 8
   The language that Salahuddin focuses on in Jannotti is not discussing the Hobbs Act, but an
 altogether different statute, 18 U.SC. § 2314, concerning stolen goods.


                                                   39
Case 3:10-cr-00104-GC         Document 104         Filed 07/19/12      Page 40 of 58 PageID: 7384




 Hobbs Act, 18 U.S.C. § 1951, does not require that any overt act be committed in furtherance of

 such a conspiracy to make out a violation.”). The Third Circuit has not specifically ruled on this,

 although some language could be read to support a similar holding. United States v. Driggs, 823

 F.2d 52, 54 (3d Cir. 1987) (reciting the elements of a Hobbs Act conspiracy without including an

 overt act requirement); United States v Traitz, 871 F.2d 368, 380-81 (3d Cir. 1989) (approving of

 general recitation of elements, which did not include an overt act requirement). And the

 comments to Third Circuit Model Jury Instructions note that “a Hobbs Act conspiracy does not

 require proof of an overt act.” Third Circuit Model Jury Instructions: Criminal § 6.18.1951

 comment (2010). Although, Defendants committed numerous overt acts, such as their continued

 meetings and discussions with Mazzocchi regarding their plan, I need not decide this issue.

 What is important for these purposes is that Defendants’ concept of an overt act is far broader

 than what is required under the law. A conspiracy conviction does not require that the

 substantive crime, the object of the conspiracy, be completed.

        Finally, Salahuddin relies on the Third Circuit decision in United States v. Hannah, 584

 F.2d 27 (3d Cir. 1978), and cases similar to it, to argue that an inconsistent verdict should not be

 allowed to stand. As discussed above, I do not find the verdict to be inconsistent. Even

 assuming it were, however, the Hannah Court explains that generally an inconsistent verdict is of

 no consequence. It quotes from several leadings cases, including the following from Justice

 Holmes:

        Consistency in the verdict is not necessary. Each count in an indictment is
        regarded as if it was a separate indictment. . . . If separate indictments had been
        presented against the defendant for possession (of liquor) and for maintenance of
        a nuisance, and had been separately tried, the same evidence being offered in
        support of each, an acquittal on one could not be pleaded as res judicata of the
        other. Where the offenses are separately charged in the counts of a single
        indictment the same rule must hold.




                                                  40
Case 3:10-cr-00104-GC         Document 104         Filed 07/19/12      Page 41 of 58 PageID: 7385




 Dunn v. United States, 284 U.S. 390, 393 (1932); Hannah, 548 F.2d at 30 (“Where different

 offenses are charged in separate counts of a single indictment, an acquittal on one or more of the

 counts does not invalidate a verdict of guilty on another even where the same evidence is offered

 in support of each count.”) (quoting United States v. Vastine, 363 F.2d 853, 854 (3d Cir. 1966)).

 Hannah did vacate a conviction based on an inconsistent verdict, but it involves facts and statutes

 entirely different than what is before me here. In Hannah, the defendant was charged with

 conspiracy to distribute drugs and facilitation. Hannah, 548 F.2d at 29. An element of the

 facilitation count required the commission of an underlying felony, which the Government

 explained to the judge and jury, was the conspiracy. The defendant was convicted of facilitation,

 but acquitted of conspiracy. Therefore, without an underlying substantive crime, the Third

 Circuit found that defendant’s facilitation conviction could not stand. The Hannah Court

 emphasized its holding was “a narrow one.” Id. at 30. Salahuddin submitted a sur-reply letter

 brief that cited several other cases that he claims stand for the same proposition: if a charged

 offense is a predicate offense or constitutes an essential element of another offense, then

 inconsistent verdicts cannot stand. Salahuddin Sur-Reply at 4-5. Again, Salahuddin has not

 shown these cases to be relevant. The conspiracy charge here did not require a conviction on an

 underlying offense nor was an element of the conspiracy necessarily absent because of the jury’s

 acquittal on the substantive offense. The Government argues that Hannah was overruled by the

 Supreme Court in United States v. Powell. Gov’t Letter Brief, at 2-3 (Dkt. No. 101) at 2-3

 (citing United States v. Powell, 469 U.S. 57, 63-64 (1984)). I do not find that the Supreme Court

 explicitly overruled Hannah, but it certainly questioned that case. United States v. Johnstone,

 856 F.2d 539, 544 (3d Cir. 1988) (“In so holding, the [Powell] Court stated that cases such as

 Hannah were contrary to the inconsistent verdict rule adopted in Dunn v. United States, 284 U.S.




                                                  41
Case 3:10-cr-00104-GC         Document 104         Filed 07/19/12      Page 42 of 58 PageID: 7386




 390 (1932).”). Whether Hannah was overruled or not is beyond what I need to review because

 its holding and facts are inapposite to my decision.

        In any event, in questioning the holding of Hannah and similar cases, the Supreme Court

 explained again why inconsistent verdicts are generally beyond the court’s power to review:

        The rule that the defendant may not upset such a verdict embodies a prudent
        acknowledgment of a number of factors. First, as the above quote suggests,
        inconsistent verdicts—even verdicts that acquit on a predicate offense while
        convicting on the compound offense—should not necessarily be interpreted as a
        windfall to the Government at the defendant’s expense. It is equally possible that
        the jury, convinced of guilt, properly reached its conclusion on the compound
        offense, and then through mistake, compromise, or lenity, arrived at an
        inconsistent conclusion on the lesser offense. But in such situations the
        Government has no recourse if it wishes to correct the jury's error; the
        Government is precluded from appealing or otherwise upsetting such an acquittal
        by the Constitution's Double Jeopardy Clause.

 Powell, 469 U.S. at 65 (noting also that criminal defendants are protected against inconsistent

 verdicts by a court’s independent review of the sufficiency of the evidence). As will be

 discussed below, it is not for me to interpret the meaning behind the jury’s verdict.

        Cooper mounts a similar defense, albeit under a slightly different theory. He concedes

 that, generally, inconsistent verdicts do not necessitate vacating a conviction. Cooper Reply at

 26. Focusing on the jury’s acquittal on Count Two, the attempt charge, rather than the other

 counts related to the substantive offenses, Cooper argues that the elements for attempt are

 necessarily subsumed by the conspiracy charge and if any element was lacking to commit an

 attempt, then it would be an impossibility to maintain the conviction for conspiracy. In

 particular, he argues that this impossibility exists in light of the Government’s theory of the

 conspiracy and that any of the conduct alleged as part of that conspiracy would have constituted

 a substantial act. In making his argument, however, Cooper improperly equates the elements of

 attempt with the elements of conspiracy; these crimes are different and address different criminal




                                                  42
Case 3:10-cr-00104-GC          Document 104           Filed 07/19/12    Page 43 of 58 PageID: 7387




 conduct. United States v. Hsu, 155 F.3d 189, 203 (3d Cir. 1998) (“It is well-settled that

 conspiracy and attempt serve different roles in the criminal law.”); United States v. O'Brien, 972

 F.2d 47, 52 (3d Cir. 1992) (“Moreover, along the continuum of different criminal activity,

 attempt crimes are closer to completed crimes than are conspiracy crimes.”); see also United

 States v. Raupp, 673 F.3d 638, 640 (7th Cir. 2012); United States v. Boykins, 966 F.2d 1240,

 1245 (8th Cir. 1992) (“Attempt and conspiracy contain different elements of proof….”); United

 States v. Brito, 721 F.2d 743, 749 (11th Cir. 1983) (rejecting Defendants argument that it was

 inconsistent for the jury to convict on a conspiracy charge and acquit on an attempt charge based

 on the same substantive offense). To prove Cooper attempted to violate the Hobbs Act, the

 Government had to prove beyond a reasonable doubt that he (1) intended to commit the

 underlying crime and (2) performed at least one act constituting a substantial step towards the

 commission of that crime. Manzo, 636 F.3d at 66. To be guilty of conspiracy, the jury had to

 find that Cooper knowingly or intentionally agreed to the conspiracy, knowing of its objective,

 and intending to join with at least one other to achieve that objective (i.e., sharing a unity of

 purpose). United States v. Rankin, 870 F.2d 109, 113 (3d Cir. 1989). To follow Cooper’s

 argument requires the Court to delve into the jury’s thought process. “Such an individualized

 assessment of the reason for the inconsistency would be based either on pure speculation, or

 would require inquiries into the jury's deliberations that courts generally will not undertake.”

 United States v. Powell, 469 U.S. 57, 66 (1984); United States v. Herrera-Genao, 419 Fed. Appx.

 288, 296 (3d Cir. 2011) (“As such, we will not reverse a conviction based on mere speculation

 about the jury’s rational deliberation process.”).

        It is entirely possible that the jury found that Cooper had the requisite intent for attempt,

 but that he did not commit a substantial act—or vice versa. See, e.g., United States v. Nelson, 66




                                                   43
Case 3:10-cr-00104-GC         Document 104         Filed 07/19/12      Page 44 of 58 PageID: 7388




 F.3d 1036, 1044 (9th Cir. 1995) (“[T]he overt act required as an element need not have as

 immediate a connection to the intended crime as the substantial step required for an attempt.”)

 (internal quotations omitted); United States v. Howard, 918 F.2d 1529, 1533 (11th Cir. 1990)

 (“Although conspiracy also requires proof of an overt act that furthers the criminal venture, the

 overt act may be otherwise innocuous and need not pose any danger to society or the intended

 victim of the conspiracy. In contrast, a ‘substantial step’ towards a criminal attempt usually poses

 a direct threat to interests protected by law.”) (internal citations omitted); cf. Bravman v. Bassett

 Furniture Industries, Inc., 552 F.2d 90 (3d Cir. 1977) (discussing intent elements of attempt and

 conspiracy being different in the context of the Sherman Act). It is precisely because of this type

 of conjecture that the Court will not tread upon the jury’s deliberations. Nor do I see any reason

 why the jury could not have believed the outlined conspiracy charge and still found that Cooper

 did not come substantially close to committing the offense in order to be guilty of attempt.

 Simply because Cooper believes that certain conduct would have satisfied the substantial step

 argument does not mean the jury agreed. And, in any event, it does not somehow negate the

 Government’s theory that a conspiracy existed or refute the substantial evidence introduced

 supporting that theory. There is no factual impossibility as Cooper suggests. As the Supreme

 Court has plainly instructed “each count of an indictment is regarded as if it was a separate

 indictment.” Powell, 469 U.S. at 62 (quotations omitted). Even assuming that Cooper is correct

 that the jury did reject the Government’s theory as to the other counts, the jury was properly

 instructed to look at each count on its own. Therefore, any perceived inconsistency is not

 enough to vacate a conviction when I find, as I do here, that there is substantial evidence to

 support that conviction. Id. at 67 (“Finally, we note that a criminal defendant already is afforded

 protection against jury irrationality or error by the independent review of the sufficiency of the




                                                  44
Case 3:10-cr-00104-GC          Document 104        Filed 07/19/12       Page 45 of 58 PageID: 7389




 evidence undertaken by the trial and appellate courts.”).

        In addition, Defendants argue that according to Rule 33, the Court should dismiss the

 indictment, or order a new trial, given several trial errors that had a substantial influence on the

 jury’s guilty verdict. The Court will discuss each of those alleged errors in turn.

        d. No Brady Violation Occurred

        Salahuddin asserts that his conviction must be vacated because the Government failed to

 disclose evidence that could be used to impeach Mazzocchi at the time of trial in violation of

 Brady v. Maryland, 373 U.S. 83 (1963), and its progeny. 9 In Brady, the Supreme Court held that

 due process forbids a prosecutor from suppressing “evidence favorable to an accused upon

 request . . . where the evidence is material either to guilt or to punishment, irrespective of the

 good faith or bad faith of the prosecution.” Id. at 87. This extends to evidence that would affect

 the credibility of a witness. Giglio v. United States, 405 U.S. 150, 154-55 (1972). To establish a

 due process violation under Brady “a defendant must show that: (1) evidence was suppressed; (2)

 the suppressed evidence was favorable to the defense; and (3) the suppressed evidence was

 material either to guilt or to punishment.” United States v. Dixon, 132 F.3d 192, 199 (5th Cir.

 1997) (citations omitted); see also United States v. Pelullo, 399 F.3d 197, 209 (3d Cir. 2005);

 United States v. Higgs, 713 F.2d 39, 42 (3d Cir. 1983).

        Salahuddin argues that material evidence was not provided before trial that could have

 affected Mazzocchi’s credibility. On cross-examination, Defendants accused Mazzocchi of

 bribing Oren Dabney in order to receive government contracts. Oren Dabney was a municipal

 official who was a supervisor of Jersey City Incinerator Authority (“JCIA”).       Defense counsel

 questioned Mazzocchi at length about the payments Mazzocchi made to Dabney and whether

 9
  While Salahuddin raises the argument in his opening brief, he does not respond to the
 Government’s opposition in his reply.


                                                   45
Case 3:10-cr-00104-GC         Document 104        Filed 07/19/12      Page 46 of 58 PageID: 7390




 they should be characterized as bribes. See, e.g., 9/14/2011 Trial Tr. at 16-17; 9/19/2011 Trial

 Tr. at 62-63. On November 23, 2011, after trial had completed and the jury had rendered its

 verdict, the Government sent Defendants’ counsel a letter stating “The Government has received

 information asserting that the Jersey City Incinerator Authority awarded to Mazzocchi Wrecking

 six snow removal contracts under Oren Dabney’s leadership between 2002 and 2007” and a list

 of eight contracts between JCIA and Mazzocchi. Salahuddin Appx. at 46-57. This information

 came to the Government from an email it received on November 22, 2011. The Government

 does not explain who sent the email nor has it been able to verify the information in that email.

 Gov’t Opp. at 52-53.

        Based on this disclosure, Salahuddin believes he could have further impeached

 Mazzocchi at trial, eroding his credibility even more, which would have likely altered the jury’s

 verdict because Mazzocchi’s testimony was the “linchpin” of the Government’s case against

 Defendants. Salahuddin Br. at 17. Nowhere does Salahuddin suggest that the Government

 purposefully withheld the evidence; rather that it had constructive knowledge and should have

 discovered it before trial. A prosecutor is charged not just with knowledge of evidence in her

 actual possession, but also with knowledge of evidence about which she “should have known.”

 See United States v. Joseph, 996 F.2d 36, 39 (3d Cir. 1993). Such evidence is considered within

 the prosecutor’s “constructive possession.” Therefore, Brady and its progeny place an

 affirmative obligation on a prosecutor “to learn of any favorable evidence known to the others

 acting on the government’s behalf in the case.” Pelullo, 399 F.3d at 216 (quoting Kyles v.

 Whitley, 514 U.S. 419, 437 (1995)). But a prosecutor is not obliged to “to learn of information

 possessed by other government agencies that have no involvement in the investigation or

 prosecution at issue.” Id. (quoting United States v. Merlino, 349 F.3d 144, 154 (3d Cir. 2003)).




                                                 46
Case 3:10-cr-00104-GC          Document 104        Filed 07/19/12       Page 47 of 58 PageID: 7391




 Salahuddin argues that because Mazzocchi was acting under the Government’s control, as a

 cooperating witness, it was charged with his knowledge. The cases he cites in support concern

 whether state government officers can be considered as part of the prosecutorial team, which

 undoubtedly they can, depending on circumstances. Salahuddin does not offer any support that

 the Government can be charged with all knowledge possessed by a cooperating witness. The

 proper question seems to be whether the Government here should have had constructive

 knowledge of the JCIA’s files. Because Salahuddin has not shown, nor am I able to find based

 upon the record, that the JCIA was acting on the prosecution’s behalf, was part of the

 investigative team, or that the prosecution had ready access to the JCIA’s files, I am not

 convinced that the Government should be charged with constructive notice of these contracts.

 See United States v. Reyeros, 537 F.3d 270, 282 (3d Cir. 2008).

        Even if the Government did have constructive possession of this evidence, I am not

 convinced that it was material. The Supreme Court has held that there is no Brady violation

 “unless the nondisclosure was so serious that there is a reasonable probability that the suppressed

 evidence would have produced a different verdict.” Strickler v. Greene, 527 U.S. 263, 281-82

 (1999). Here, Salahuddin has failed to show that the disclosure of these contracts would have

 changed the outcome of his trial or that it undermined confidence in the outcome of the trial. As

 an initial matter, both Salahuddin and Cooper stress in their briefing that Mazzocchi’s credibility

 was “aggressively” challenged on cross-examination. In Salahuddin’s words, Mazzocchi was

 shown to be a “tax cheat, liar, thief and serial corrupter/briber of municipal officials.”

 Salahuddin Br. at 23. In the face of such withering cross-examination, it is extremely doubtful

 that the admission of additional contracts between the JCIA and Mazzocchi would have tipped

 the jury’s assessment of Mazzocchi’s testimony; Defendants had already raised the specter of




                                                  47
Case 3:10-cr-00104-GC        Document 104        Filed 07/19/12     Page 48 of 58 PageID: 7392




 Mazzocchi being a corrupt liar who bribed public officials, including Dabney. 10

        Indeed, Defendants already knew that Mazzocchi had paid Dabney money and received

 JCIA contracts. Counsel questioned Mazzocchi about his involvement with Dabney and the

 JCIA in detail and suggested during closing arguments that this was another reason why

 Mazzocchi’s testimony should not be believed. Further, counsel already had evidence in its

 possession that showed Dabney received contracts from the JCIA. Before trial, the Government

 produced F.B.I. reports, including one dated March 28, 2006, that detailed how Mazzocchi

 received JCIA contracts after Dabney was appointed director and how Mazzocchi made

 payments to Dabney. “[T]he government is not obliged under Brady to furnish a defendant with

 information which he already has or, with any reasonable diligence, he can obtain himself.”

 Pelullo, 399 F.3d at 209 (quotations omitted). This report was marked by Mr. Ashley as

 Salahuddin Exhibit 1 during trial and shown to Mazzocchi. 9/14/2011 Trial Tr. at 9. Separately,

 counsel for both Salahuddin and Cooper questioned Mazzocchi about his relationship with

 Dabney and whether there was an improper or illegal relationship between the two. For

 example, Mr. Ashley questioned as follows:

        Q. And did Mr. Dabney ask for those payments or did you suggest to him you
        would give him those payments in exchange for getting business from him?

        A. Mr. Dabney wasn't in a position to give me business. I gave him that money
        because once I knew he would take over as the fellow that was in charge, he
        wouldn't consider my bids if I didn't take care of him.

        Q. How did you know that? How did you know he wouldn't consider your bids if
        you didn't take care of him?

        THE COURT: Wait until he finishes his questions.

 10
   Much of Salahuddin’s argument is premised on the idea, also advocated by Cooper, that
 Mazzocchi’s trial testimony was the “linchpin” of the Government’s case. As I discussed earlier,
 however, this ignores the substantial evidence from the recorded conversations, the documentary
 evidence, and other witnesses’ testimony.


                                                48
Case 3:10-cr-00104-GC           Document 104    Filed 07/19/12       Page 49 of 58 PageID: 7393




        A. Because Mr. Dabney appeared to have other people he was working with, and
        I knew that he would shut me out and wouldn't allow me to legally bid and legally
        get awarded jobs.

        Q. Did you know that to be a fact, that he had other people that he was working
        with?

        A. Yes.

        Q. And you are saying they were paying him also?

        A. I don't know that.

        Q. You are the only person, to your knowledge, that was actually paying him
        bribes. Is that correct?

        A. I don't know that.

        Q. Well, at some point in time your relationship ended when Mr. Dabney decided
        he didn't want to do it anymore. Is that correct?

        A. Correct.

        Q. Now, how long did you get that business in Jersey City?

        A. With Mr. Dabney I didn't get any business. It was prior to Mr. Dabney.

        Q. Why, then, did you continue to pay him on eight occasions from a thousand to
        $6,000 if you weren't getting any favors?

        A. I already had the contract.

        Q. So why did you pay him?

        A. Because I didn't want him to shut me out when he took over the position.

 9/14/2011 Trial Tr. at 16:7-17:21. And Mr. Zegas also questioned him regarding the same

 subject matter:

        Q. When you made payments to Mr. Dabney, were those payments illegal?

        A. He never did anything for me.

        Q. Did you make payments to Mr. Dabney?




                                               49
Case 3:10-cr-00104-GC          Document 104        Filed 07/19/12       Page 50 of 58 PageID: 7394




        A. Yes.

        Q. The payments were illegal; Correct?

        A. I guess so.

        Q. You paid him money because you didn't want to be left out of future contracts.
        Isn't that what you testified to before this jury?

        A. Right, didn't want him to work against me.

        Q. So just like Mr. Clark you are paying Dabney so he wouldn't work against you
        in the future. Correct?

        A. There was no future.

        Q. You did it -- that was your insurance policy so that Dabney would not work
        against you in the future. Correct?

        A. Correct.

        Q. You made payments to the man that were illegal. Correct?

        A. Right.

        Q. And that was a bribe. Correct?

        A. Correct.

 9/19/2011 Trial Tr. at 62:21-63:18. Mr. Zegas went on to impeach Mazzocchi’s answer with the

 testimony he provided earlier. Id. at 62-64. Since Defendants knew that Mazzocchi paid money

 to Dabney, knew that Mazzocchi received JCIA contracts under Dabney’s supervision,

 questioned Mazzocchi extensively about these dealings, had an opportunity to impeach

 Mazzocchi’s explanation, indeed did impeach him with his prior testimony, and showed

 Mazzocchi to have bribed public officials for contracts in the past, it strains credulity to find that

 the additional evidence of contracts was material. Accordingly, the Court concludes that no

 Brady violation has occurred.

        e. There was No Error Regarding the Instructions to the Jury



                                                   50
Case 3:10-cr-00104-GC          Document 104         Filed 07/19/12      Page 51 of 58 PageID: 7395




         Salahuddin argues the Court erred by not specifically instructing the jury to consider

 evidence of his good character and did not sufficiently explain the “quid pro quo” requirement

 for the Hobbs Act. First, I note that despite Defendants’ counsel discussing, reviewing, and

 revising the jury instructions during two charge conferences, Defendants did not object to the

 instructions or raise these arguments before the jury was charged. Therefore, this constitutes a

 waiver unless Defendants can show it was plain error:

         Where a party fails to object to the district court’s jury instructions, “he waives
         the issue on appeal, ‘unless the error was so fundamental and highly prejudicial as
         to constitute plain error.’” United States v. Zehrbach, 47 F.3d 1252, 1261 n.6 (3d
         Cir. 1995) (en banc) (quoting Bennis v. Gable, 823 F.2d 723, 727 (3d Cir. 1987));
         see also Fed. R. Crim. P. 30(d) (stating that failure to object to the court’s jury
         instructions “precludes appellate review, except as permitted under Rule 52(b)”).
         To find plain error, we must conclude that (1) there was error; (2) the error was
         clear or obvious; (3) the error affected the defendant’s substantial rights; and (4)
         the error seriously affected the fairness, integrity, or public reputation of the legal
         proceeding. United States v. Lee, 612 F.3d 170, 178 (3d Cir. 2010). If the
         defendant satisfies this showing, we may, but are not required to, order correction.
         United States v. Olano, 507 U.S. 725, 735-36 (1993) (explaining that the
         discretion conferred by plain error review “should be employed in those
         circumstances in which a miscarriage of justice would otherwise result” (internal
         quotation omitted)).

 United States v. Tyson, 653 F.3d 192, 211 (3d Cir. 2011). Salahuddin admits no timely

 objection was made but briefly comments, by way of footnote, that post-verdict review may be

 had under the plain error standard. Salahuddin Br. at 26, n.10. Nevertheless, he fails to analyze

 the four factors relevant to the plain error standard at all or demonstrate any potential miscarriage

 of justice.

         Even absent any showing of plain error, I am not convinced the instructions were

 incorrect. Regarding the jury’s consideration of Salahuddin’s good character, the Third Circuit

 has explained a “standing alone” charge is not mandatory:

         While the [United States v. Baysek, 212 F.2d 446, 447-48 (3d Cir. 1954)]
         decision approved a “standing alone” charge, it certainly did not require



                                                   51
Case 3:10-cr-00104-GC        Document 104        Filed 07/19/12      Page 52 of 58 PageID: 7396




        one…Instead, “all that was required” was that the jury “must have understood that
        if after consideration of all the evidence, including the character evidence, they
        were satisfied beyond a reasonable doubt of the defendant’s guilt they should
        convict him even though he offered evidence of good character.” 212 F.2d at 448.

        * * *

        We hold that so long as an instruction consistent with Quick, Frischling, and
        Baysek is given, which calls the jury’s attention to its duty to take character
        evidence into account with all of the other evidence in deciding whether the
        government has proved its charge beyond a reasonable doubt, the omission of the
        express “standing alone” language which was requested here is not an abuse of
        the discretion vested in the trial court to choose the wording of the character
        evidence charge.

 United States v. Spangler, 838 F.2d 85, 87 (3d Cir. 1988). My instruction to the jury conformed

 to Spangler, nearly verbatim, and the cases upon which it relies. The jury was told the following:

        You have heard opinion and reputation evidence about whether defendant
        Salahuddin had a character trait for honesty and whether he was law-abiding.

        You should consider this character evidence together with and in the same way as
        all the other evidence in the case in deciding whether the government has proved
        the charges beyond a reasonable doubt.

 10/06/2011 Trial Tr. at 62. The jury was informed of its duty to take character evidence into

 account with all other evidence in assessing the Government’s case. The cases cited by

 Salahuddin, in particular Baysek discussed by the Third Circuit in Spangler, do not support a

 different result, but apply the same standard enunciated in Spangler—that character evidence, if

 properly before the jury, should be considered and if that evidence or any evidence creates a

 reasonable doubt as the charge, then the jury must acquit. See, e.g., Edgington v. United States,

 164 U.S. 361, 366 (1896) (“[T]o the effect that evidence of the good character of the defendant is

 not to be considered unless the other evidence leaves the mind in doubt, the decided weight of

 authority now is that good character, when considered in connection with the other evidence in

 the case, may generate a reasonable doubt.”).




                                                 52
Case 3:10-cr-00104-GC         Document 104         Filed 07/19/12      Page 53 of 58 PageID: 7397




        Next, Salahuddin argues that the Court was required to instruct the jury that the

 Government had to show proof of an “explicit promise” in order to sustain a conviction as part of

 the quid pro quo requirement of the Hobbs Act. Whether such an instruction is necessary

 depends on the alleged conduct at issue. For charges averring extortion under the color of

 official right in the context of political contributions, then there must be a showing of an explicit

 promise. “Political contributions are of course vulnerable if induced by the use of force,

 violence, or fear. The receipt of such contributions is also vulnerable under the Act as having

 been taken under color of official right, but only if the payments are made in return for an

 explicit promise or undertaking by the official to perform or not to perform an official act.”

 McCormick v. United States, 500 U.S. 257, 273 (1991) (emphasis added). But outside of this

 context, such a showing is not necessary:

        We reject petitioner’s criticism of the instruction, and conclude that it satisfies the
        quid pro quo requirement of McCormick v. United States, 500 U.S. 257 (1991),
        because the offense is completed at the time when the public official receives a
        payment in return for his agreement to perform specific official acts; fulfillment
        of the quid pro quo is not an element of the offense. We also reject petitioner's
        contention that an affirmative step is an element of the offense of extortion “under
        color of official right” and need be included in the instruction. As we explained
        above, our construction of the statute is informed by the common-law tradition
        from which the term of art was drawn and understood. We hold today that the
        Government need only show that a public official has obtained a payment to
        which he was not entitled, knowing that the payment was made in return for
        official acts.

 Evans v. United States, 504 U.S. 255, 268 (1992); United States v. Bradley, 173 F.3d 225, 231

 (3d Cir. 1999) (following Justice Kennedy’s concurrence in Evans to hold that, outside “non-

 campaign cases,” proof of an explicit promise is not required); see Salahuddin Br. at 37 (quoting

 Evans language). In line with this case law, the Court instructed the jury as follows:

        The government is not required to prove the public official made any specific
        threat or used force or fear to cause the cooperating witness to part with the
        money or other benefit that the Indictment alleges the defendant attempted to



                                                  53
Case 3:10-cr-00104-GC          Document 104         Filed 07/19/12      Page 54 of 58 PageID: 7398




         obtain by extortion under color of right. However, the government must prove
         beyond a reasonable doubt that the public official knowingly and willfully, as
         those terms are defined later in these instructions, used his official position in
         order to obtain something of value to which he had no right.

         * * *

         Counts 1, 2 and 4 involve benefits and things of value that include political
         contributions. Solicitation or acceptance by a public official of a political
         contribution, by itself, does not constitute extortion under color of official right or
         bribery even if the person making the contribution has business pending before
         the official, or if that person has a hope or expectation the official will look
         favorably upon him as a result of the contribution. The solicitation and
         acceptance of political contributions are lawful and appropriate parts of our
         political system. However, if a particular defendant as a public official solicits,
         receives, obtains, or accepts a political contribution knowing that it is given in
         exchange for an explicit promise or understanding by the official to perform or
         not to perform a specific official act or course of official action, then that
         defendant has committed extortion under color of official right and bribery.

 10/06/2011 Trial Tr. at 27, 29-30. Therefore, the jury was informed that an explicit promise was

 required in the campaign context, as required by the Supreme Court’s holdings in McCormick

 and Evans. Salahuddin recognizes, even quotes from, this precedent, but nonetheless asserts that

 other opinions have held otherwise, including Manzo, 714 F. Supp. 2d at 497, discussed above.

 After reviewing these cases, the Court finds no support for Defendants’ argument. Indeed,

 Manzo does not discuss jury instructions in the non-campaign context versus the campaign

 context. I find that Salahuddin’s argument has no basis in the law and there was no error as to

 the jury instructions.

         f. Defendants Have Failed to Show The Government Engaged in Outrageous
            Conduct or Selective Prosecution

         Cooper argues the Government engaged in (1) outrageous and intolerable conduct and (2)

 in selective prosecution and that either ground necessitates the Court vacating Defendants’

 conviction. The Government argues that both arguments are untimely and lack merit.

         The supposedly shocking, outrageous and intolerable Government conduct stems from



                                                   54
Case 3:10-cr-00104-GC          Document 104         Filed 07/19/12      Page 55 of 58 PageID: 7399




 the Government’s use of Mazzocchi as a cooperating witness. In particular, Cooper believes that

 the Mazzocchi was given free rein to control the investigation and development of the case and

 that Mazzocchi was allowed to do so based on his racial prejudices. In United States v. Twigg,

 the Third Circuit explained that “fundamental fairness will not permit any defendant to be

 convicted of a crime in which police conduct was ‘outrageous.’” 588 F.2d 373, 378-379 (3d Cir.

 1978). There the Drug Enforcement Agency supplied an abundance of the resources and

 chemicals necessary to start manufacturing illegal drugs, all under the supervision and authority

 of a convicted felon. That felon then persuaded the defendant to assist him with his enterprise.

 The court found that even aside from a defense of entrapment, a conviction could not stand when

 the Government “implanted the criminal design in Defendant’s mind” and “set him up,

 encouraged him, provided the essential supplies and technical expertise.” Id. at 381.

 Considering the totality of the Government’s conduct combined with the fact that defendant did

 not initiate involvement with the crime, the Twigg Court found this “egregious conduct on the

 part of government agents generated new crimes by the defendant merely for the sake of pressing

 criminal charges against him when, as far as the record reveals, he was lawfully and peacefully

 minding his own affairs.” Id. Only in this one instance has the Third Circuit overturned a

 conviction based on outrageous or egregious government conduct. United States v. Lakhani, 480

 F.3d 171, 180-81 (3d Cir. 2007) (“We have said that this principle is to be invoked only in the

 face of the most intolerable government conduct—not each time the government acts

 deceptively or participates in a crime that it is investigating.”) (internal citation and quotations

 omitted).

        The conduct here does not rise to the level described in Twigg. The evidence supports a

 finding that Salahuddin and Cooper set in motion this conspiracy and freely and fully




                                                   55
Case 3:10-cr-00104-GC          Document 104        Filed 07/19/12       Page 56 of 58 PageID: 7400




 participated in it. No evidence suggests this was a scheme hatched entirely by the Government

 or Mazzocchi. Salahuddin and Cooper were not lawfully and peacefully minding their affairs

 and duped by government action into fomenting this conspiracy. The Government did not, on its

 own accord, implant the idea for the conspiracy in Defendants’ mind, create the conditions or

 circumstances to further Defendants’ plans, or supply material aid to Defendants’ endeavors.

 Rather, it appears that Salahuddin and Cooper came to Mazzocchi through Parlavecchio. As

 discussed above, the evidence is replete with affirmative statements by the Defendants

 articulating and outlining the contours of their conspiracy.

        Defendants focus on the racial statements and epithets made by Mazzocchi during the

 recorded conversations. This dovetails with Cooper’s argument that the Government selectively

 prosecuted Salahuddin and Cooper, both African-Americans, and not Mazzocchi and

 Parlavecchio, both Caucasian, at the behest of Mazzocchi, because of a racist intent and a bias

 against Newark’s set-aside program that benefits minorities. It goes without saying the Court

 finds the racial epithets of Mazzocchi and Parlavecchio repugnant to common standards of

 decency. But acquittal is not required whenever the Government has to involve itself with

 unsavory characters in the course of conducting an investigation. To do so would allow few

 convictions to stand. Even if this argument had some merit, Defendants have failed to show that

 Mazzocchi exerted complete dominion over the Government’s investigation or that it was at all

 influenced by similar motivations.

        Cooper’s argument that the Government selectively prosecuted only himself and

 Salahuddin because they were African-American also fails. Initially, the Court notes that such

 an objection is properly brought before trial. “‘The question of discriminatory prosecution’

 relates ‘to a constitutional defect in the institution of the prosecution.’ United States v. Berrigan,




                                                   56
Case 3:10-cr-00104-GC        Document 104         Filed 07/19/12     Page 57 of 58 PageID: 7401




 482 F.2d 171, 175 (3d Cir. 1973). A motion alleging a defect in institution of the prosecution

 must be raised before trial.” United States v. Brookins, 413 Fed. Appx. 509, 514 (3d Cir. 2011)

 (citing Fed. R. Crim. P. 12(b)(3)(A)). Nevertheless, even if the objection were properly before

 the Court, it cannot succeed because Mazzocchi and Parlavecchio are not similarly situated to

 either Salahuddin or Cooper.

        In order to prove discriminatory prosecution, the Court looks to ordinary equal protection

 standards. The Supreme Court has articulated the requisite showing to be made: “The claimant

 must demonstrate that the federal prosecutorial policy had a discriminatory effect and that it was

 motivated by a discriminatory purpose. To establish a discriminatory effect in a race case, the

 claimant must show that similarly situated individuals of a different race were not prosecuted.”

 United States v. Armstrong, 517 U.S. 456, 465-66 (1996). Such a showing must be made by

 “clear evidence.” Id. Mazzocchi was not similarly situated because he was working with law

 enforcement, while Salahuddin and Cooper were not. The Third Circuit has found this to be

 enough to deny a claim of selective prosecution. United States v. Rhines, 143 Fed. Appx. 478,

 481 (3d Cir. 2005) (“Here, the record establishes that Rhines and Gair were not similarly situated

 because, as the District Court noted, Gair was cooperating with law enforcement officials while

 Rhines was not.”). And there was far less evidence concerning Parlavecchio’s involvement with

 the conspiracy. As discussed above, Parlavecchio may have played an initial role in introducing

 Salahuddin and Cooper to Mazzocchi, but otherwise was not involved with the Defendants.

 Determining why Parlavecchio’s involvement essentially ceased would, inappropriately, require

 conjecture by this Court. Nor was there evidence developed establishing all of the necessary

 elements of the conspiracy, as to Parlavecchio, including whether he ever had an intent to join

 the conspiracy. Defendants have not met the high burden of establishing either a discriminatory




                                                 57
Case 3:10-cr-00104-GC         Document 104        Filed 07/19/12     Page 58 of 58 PageID: 7402




 effect or discriminatory purpose.

        g. The Jury was Free to Disregard Defendants’ Alleged Motivation

        Finally, Salahuddin argues that his intent was not conspiratorial nor criminal, but benign,

 and he only sought to advance the interest of minority business owners in Newark. First, he

 contends that the exception in 18 U.S.C. § 1951(c) for labor union activities applies to him. But

 Salahuddin does not adequately explain how promoting minority business is at all related to

 labor union activities nor does he cite any case law in support of his argument. The Court finds

 that this analogy is too attenuated to bring Salahuddin’s conduct within the narrow ambit of §

 1951(c). Moreover, his argument is more appropriately directed to whether he had intent to enter

 into the conspiracy and has been addressed at times throughout this opinion. Salahuddin echoes

 the same argument he made at trial before the jury. And it was for the jury to accept or deny his

 theory. Instead of believing that Salahuddin was solely motivated to provide opportunities for

 minorities, the jury accepted the Government’s theory that Salahuddin conspired to use his

 official position to benefit himself through his surreptitious relationship with Cooper. Cooper

 also argues that the impetus for the arrangement was not to improperly funnel work to Cooper

 for Defendants’ benefit, but to increase minority participation in Mazzocchi’s business. Cooper

 cites recorded conversations in support. Again, the jury was free to either believe or disregard

 this evidence. Because the jury’s verdict was supported by substantial evidence there is no basis

 to disturb the conviction.

        IV.     CONCLUSION

        Defendants’ motions are denied. An order will be entered consistent with this Opinion.


 Dated: July 19, 2012                                 /s/ Freda L. Wolfson
                                                      Honorable Freda L. Wolfson
                                                      United States District Judge



                                                 58
